      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 1 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 1 of 78

                                                                               APPEAL,CAT B
                              U.S. District Court
                   District of Columbia (Washington, DC)
            CRIMINAL DOCKET FOR CASE #: 1:23−cr−00257−TSC−1

 Case title: USA v. TRUMP                             Date Filed: 08/01/2023

 Assigned to: Judge Tanya S.
 Chutkan
 Appeals court case number:
 23−3190

 Defendant (1)
 DONALD J. TRUMP               represented by John F. Lauro
                                              LAURO & SINGER
                                              400 N. Tampa Street
                                              15th Floor
                                              Tampa, FL 33602
                                              (813) 222−8990
                                              Fax: (813) 222−8991
                                              Email: jlauro@laurosinger.com
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED
                                              Designation: Retained

                                             Emil Bove
                                             BLANCHE LAW
                                             99 Wall Street, Suite 4460
                                             New York, NY 10005
                                             212−716−1250
                                             Email: emil.bove@blanchelaw.com
                                             ATTORNEY TO BE NOTICED
                                             Designation: Retained

                                             Filzah I. Pavalon
                                             LAURO & SINGER
                                             400 N. Tampa Street
                                             15th Floor
                                             Tampa, FL 33602
                                             (813) 222−8990
                                             Fax: (813) 222−8991
                                             Email: fpavalon@laurosinger.com
                                             PRO HAC VICE
                                             ATTORNEY TO BE NOTICED
                                             Designation: Retained

                                             Todd Blanche
                                             BLANCHE LAW


                                                                                              1
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 2 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 2 of 78

                                          99 Wall Street
                                          New York, NY 10005
                                          (212) 716−1250
                                          Email: toddblanche@blanchelaw.com
                                          PRO HAC VICE
                                          ATTORNEY TO BE NOTICED
                                          Designation: Pro Hac Vice

 Pending Counts                           Disposition
 18 U.S.C. 371; CONSPIRACY
 TO DEFRAUD THE UNITED
 STATES; Conspiracy to Defraud
 the United States
 (1)
 18 U.S.C. 1512(k);
 TAMPERING WITH WITNESS,
 VICTIM, OR AN INFORMANT;
 Conspiracy to Obstruct an
 Official Proceeding
 (2)
 18 U.S.C. 1512(c)(2), 2;
 TAMPERING WITH A
 WITNESS, VICTIM OR
 INFORMANT; Obstruction of,
 and Attempt to Obstruct, an
 Official Proceeding
 (3)
 18 U.S.C. 241; CONSPIRACY
 AGAINST RIGHTS OF
 CITIZENS; Conspiracy Against
 Rights
 (4)

 Highest Offense Level
 (Opening)
 Felony

 Terminated Counts                        Disposition
 None

 Highest Offense Level
 (Terminated)
 None

 Complaints                               Disposition
 None

                                                                               2
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 3 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 3 of 78




 Plaintiff
 USA                                 represented by J.P. Cooney
                                                    U.S. ATTORNEY'S OFFICE FOR THE
                                                    DISTRICT OF COLUMBIA
                                                    555 Fourth Street, NW
                                                    Washington, DC 20530
                                                    (202) 252−7281
                                                    Email: joseph.cooney@usdoj.gov
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Assistant U.S. Attorney

                                                   James Pearce
                                                   U.S. DEPARTMENT OF JUSTICE
                                                   CRIMINAL DIVISION APPELLATE
                                                   SECTION
                                                   Department of Justice, Criminal Division
                                                   950 Pennsylvania Ave NW
                                                   Suite 1250
                                                   Washington, DC 20530
                                                   (202) 532−4991
                                                   Fax: (202) 305−2121
                                                   Email: james.pearce@usdoj.gov
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Assistant U.S. Attorney

                                                   Molly Gulland Gaston
                                                   U.S. ATTORNEY'S OFFICE FOR THE
                                                   DISTRICT OF COLUMBIA
                                                   555 Fourth Street, NW
                                                   Washington, DC 20530
                                                   (202) 252−7803
                                                   Email: molly.gaston@usdoj.gov
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Assistant U.S. Attorney

                                                   Thomas Windom
                                                   555 Fourth Street NW
                                                   Washington, DC 20530
                                                   202−252−7846
                                                   Email: thomas.windom@usdoj.gov
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Assistant U.S. Attorney

                                                   John M. Pellettieri
                                                   Special Counsel's Office
                                                   950 Pennsylvania Avenue NW

                                                                                              3
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 4 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 4 of 78

                                                               Rm. B−206
                                                               Washington, DC 20530
                                                               202−714−3913
                                                               Email: john.pellettieri@usdoj.gov
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Assistant U.S. Attorney

  Date Filed   #   Docket Text
  08/01/2023   1   INDICTMENT as to DONALD J. TRUMP (1) count(s) 1, 2, 3, 4. (zltp) (Entered:
                   08/01/2023)
  08/01/2023   3   MOTION to Seal Case by USA as to DONALD J. TRUMP. (Attachments: # 1 Text
                   of Proposed Order)(zltp) (Entered: 08/01/2023)
  08/01/2023   4   ORDER granting 3 Motion to Seal Case as to DONALD J. TRUMP (1). Signed by
                   Magistrate Judge Moxila A. Upadhyaya on 8/1/2023. (zltp) (Entered: 08/01/2023)
  08/01/2023       Case unsealed as to DONALD J. TRUMP (zltp) (Entered: 08/01/2023)
  08/03/2023   5   NOTICE OF ATTORNEY APPEARANCE: John F. Lauro appearing for DONALD
                   J. TRUMP (Lauro, John) (Entered: 08/03/2023)
  08/03/2023   7   MOTION for Leave to Appear Pro Hac Vice Todd Blanche Filing fee $ 100, receipt
                   number ADCDC−10252226. Fee Status: Fee Paid. by DONALD J. TRUMP. (Lauro,
                   John) (Entered: 08/03/2023)
  08/03/2023   8   Summons Returned Executed on 8/3/2023 as to DONALD J. TRUMP. (ztl) (Entered:
                   08/04/2023)
  08/03/2023       MINUTE ORDER as to Donald J. Trump: As required by Rule 5(f), the United States
                   is ordered to produce all exculpatory evidence to the defendant pursuant to Brady v.
                   Maryland and its progeny. Not doing so in a timely manner may result in sanctions,
                   including exclusion of evidence, adverse jury instructions, dismissal of charges and
                   contempt proceedings.Signed by Magistrate Judge Moxila A. Upadhyaya on
                   8/3/2023. (ztl) (Entered: 08/04/2023)
  08/03/2023       ORAL MOTION for Speedy Trial by USA as to DONALD J. TRUMP. (ztl) (Entered:
                   08/04/2023)
  08/03/2023       Minute Entry for proceedings held before Magistrate Judge Moxila A. Upadhyaya:
                   Return on Summons/Initial Appearance/Arraignment as to Counts 1,2,3,4 held on
                   8/3/2023. Plea of Not Guilty entered as to all counts. The Court advised the
                   Government of its due process obligation under Rule 5(f).Status Conference set for
                   8/28/2023 at 10:00 AM in Courtroom 9− In Person before Judge Tanya S. Chutkan.
                   Bond Status of Defendant: Defendant Remain on Personal Recognizance; Court
                   Reporter: Jeff Hook; Defense Attorney: John Lauro and Todd Blanche; US Attorney:
                   Thomas Windom and Molly Gaston; Pretrial Officer: Takeysha Robinson. (ztl)
                   (Entered: 08/04/2023)
  08/03/2023       MINUTE ORDER as to DONALD J. TRUMP: A status conference will be held in
                   this matter on August 28, 2023 at 10:00 AM in Courtroom 9 before Judge Tanya S.
                   Chutkan. The court waives the requirement for Defendant to appear at that
                   conference. It is hereby ORDERED that Defendant shall file any motion for excluding
                   the time until the next status conference from the Speedy Trial Act clock by August 8,


                                                                                                            4
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 5 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 5 of 78


                    2023; and that the government shall file any opposition to that motion by August 13,
                    2023. It is FURTHER ORDERED that by August 10, 2023, the government shall file
                    a brief proposing a trial date and providing an estimate of the time required to set
                    forth the prosecution's case in chief during that trial; and that by August 17, 2023,
                    Defendant shall file a response brief likewise proposing a trial date and estimating, to
                    the extent possible, the time required to set forth the defense at trial. Signed by Judge
                    Tanya S. Chutkan on 8/3/2023. (ztl) (Entered: 08/04/2023)
  08/03/2023   13   ORDER Setting Conditions of Release as to DONALD J. TRUMP (1) Personal
                    Recognizance. Signed by Magistrate Judge Moxila A. Upadhyaya on 8/3/2023.
                    (Attachment: # 1 Appearance Bond) (znjb) (Entered: 08/07/2023)
  08/04/2023    9   MOTION for Leave to Appear Pro Hac Vice Filzah I. Pavalon Filing fee $ 100,
                    receipt number ADCDC−10255735. Fee Status: Fee Paid. by DONALD J. TRUMP.
                    (Lauro, John) (Entered: 08/04/2023)
  08/04/2023   10   MOTION for Protective Order by USA as to DONALD J. TRUMP. (Attachments: # 1
                    Text of Proposed Order)(Gaston, Molly) (Entered: 08/04/2023)
  08/05/2023        MINUTE ORDER as to DONALD J. TRUMP: It is hereby ORDERED that by 5:00
                    PM on August 7, 2023, Defendant shall file a response to the government's 10 Motion
                    for Protective Order, stating Defendant's position on the Motion. If Defendant
                    disagrees with any portion of the government's proposed Protective Order, ECF No.
                    10−1, his response shall include a revised version of that Protective Order with any
                    modifications in redline. Signed by Judge Tanya S. Chutkan on 08/05/2023. (lcss)
                    (Entered: 08/05/2023)
  08/05/2023        MINUTE ORDER as to DONALD J. TRUMP: Granting 9 Motion for Leave to
                    Appear Pro Hac Vice. Filzah I. Pavalon is hereby admitted pro hac vice to appear in
                    this matter on behalf of Defendant. Counsel should register for e−filing via PACER
                    and file a notice of appearance pursuant to LCrR 44.5(a). Click for instructions.
                    Signed by Judge Tanya S. Chutkan on 08/05/2023. (lcss) (Entered: 08/05/2023)
  08/05/2023   11   MOTION for Extension of Time to File Response/Reply as to 10 MOTION for
                    Protective Order , MOTION for Hearing by DONALD J. TRUMP. (Attachments: # 1
                    Text of Proposed Order)(Lauro, John) (Entered: 08/05/2023)
  08/05/2023   12   RESPONSE by USA as to DONALD J. TRUMP re 11 MOTION for Extension of
                    Time to File Response/Reply as to 10 MOTION for Protective Order MOTION for
                    Hearing (Gaston, Molly) (Entered: 08/05/2023)
  08/05/2023        MINUTE ORDER as to DONALD J. TRUMP: Defendant's 11 Motion for Extension
                    of Time is hereby DENIED. Defendant may continue to confer with the government
                    regarding its proposed protective order before or after the August 7, 2023 5:00 PM
                    deadline for his response. The court will determine whether to schedule a hearing to
                    discuss the proposed protective order after reviewing Defendant's response and, if
                    included, his revised proposed protective order with modifications in redline. Signed
                    by Judge Tanya S. Chutkan on 08/05/2023. (lcss) (Entered: 08/05/2023)
  08/06/2023        Set/Reset Deadline as to DONALD J. TRUMP: Defendant shall file a response to the
                    government's 10 Motion for Protective Order, stating Defendant's position on the
                    Motion by 5:00 PM on August 7, 2023. If Defendant disagrees with any portion of the
                    government's proposed Protective Order, (Dkt. #10−1), his response shall include a
                    revised version of that Protective Order with any modifications in redline. (jth)
                    (Entered: 08/06/2023)


                                                                                                                5
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 6 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 6 of 78


  08/07/2023   14   RESPONSE by DONALD J. TRUMP re 10 MOTION for Protective Order (Lauro,
                    John) (Entered: 08/07/2023)
  08/07/2023   15   REPLY in Support by USA as to DONALD J. TRUMP re 10 MOTION for Protective
                    Order (Gaston, Molly) (Entered: 08/07/2023)
  08/07/2023        MINUTE ORDER as to DONALD J. TRUMP: Upon consideration of the
                    government's 10 Motion for Protective Order and Defendant's 14 Response, as well as
                    the government's 15 Reply, the court will schedule a hearing on the parties' respective
                    proposals. The court will waive the requirement of Defendant's appearance.
                    Accordingly, it is hereby ORDERED that no later than 3:00 PM on August 8, 2023,
                    the parties shall meet and confer and file a joint notice of two dates and times on or
                    before August 11, 2023 when both parties are available for a hearing. Signed by Judge
                    Tanya S. Chutkan on 08/07/2023. (lcss) (Entered: 08/07/2023)
  08/08/2023        Set/Reset Deadline as to DONALD J. TRUMP: by 3:00 PM on 8/8/2023, the parties
                    shall meet and confer and file a joint notice of two dates and times on or before
                    8/11/2023 when both parties are available for a hearing. (jth) (Entered: 08/08/2023)
  08/08/2023   16   TRANSCRIPT OF RETURN ON SUMMONS/INITIAL
                    APPEARANCE/ARRAIGNMENT in case as to DONALD J. TRUMP before
                    Magistrate Judge Moxila A. Upadhyaya held on August 3, 2023. Page Numbers: 1 −
                    24. Date of Issuance: August 8, 2023. Court Reporter: Jeff Hook. Contact
                    Information: 202−354−3373 | jeff_hook@dcd.uscourts.gov. Transcripts may be
                    ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced above.
                    After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                    (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                    days to file with the court and the court reporter any request to redact personal
                    identifiers from this transcript. If no such requests are filed, the transcript will be
                    made available to the public via PACER without redaction after 90 days. The policy,
                    which includes the five personal identifiers specifically covered, is located on our
                    website at www.dcd.uscourts.gov.

                    Redaction Request due 8/29/2023. Redacted Transcript Deadline set for 9/8/2023.
                    Release of Transcript Restriction set for 11/6/2023.(Hook, Jeff) (Entered: 08/08/2023)
  08/08/2023   17   NOTICE by the Parties in Response to Court's August 7, 2023 Minute Order by USA
                    as to DONALD J. TRUMP re Order,, (Gaston, Molly) (Entered: 08/08/2023)
  08/08/2023        MINUTE ORDER as to DONALD J. TRUMP: The court hereby schedules a hearing
                    on the parties' respective protective order proposals in this matter on August 11, 2023
                    at 10:00 AM in Courtroom 9. The requirement of Defendant's appearance is waived
                    for this hearing. Signed by Judge Tanya S. Chutkan on 08/08/2023. (lcc) (Entered:
                    08/08/2023)
  08/08/2023   18   MOTION to Exclude Time Under Speedy Trial Act by DONALD J. TRUMP.
                    (Attachments: # 1 Text of Proposed Order Granting Motion)(Lauro, John) (Entered:
                    08/08/2023)
  08/09/2023

                                                                                                              6
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 7 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 7 of 78


                    Set/Reset Hearing as to DONALD J. TRUMP: A Hearing on the Parties' Respective
                    Protective Order Proposals is set for August 11, 2023, at 10:00 AM in Courtroom 9.
                    before Judge Tanya S. Chutkan. The requirement of Defendant's appearance is waived
                    for this hearing. (jth) (Entered: 08/09/2023)
  08/09/2023   19   ENTERED IN ERROR.....NOTICE Updated Certificate of Good Standing by
                    DONALD J. TRUMP re 7 MOTION for Leave to Appear Pro Hac Vice Todd
                    Blanche Filing fee $ 100, receipt number ADCDC−10252226. Fee Status: Fee Paid.
                    (Lauro, John) Modified on 8/9/2023 (zhsj). (Entered: 08/09/2023)
  08/09/2023        NOTICE OF ERROR as to DONALD J. TRUMP regarding 19 Notice (Other). The
                    following error(s) need correction: Incorrect format (Letter)− correspondence is not
                    permitted (LCrR 49(f)(4)). Please refile as a Notice of Filing attaching your
                    Certificate of Good Standing to a Notice of Filing Document Containing the Caption
                    of the Court. (zhsj) (Entered: 08/09/2023)
  08/09/2023   20   NOTICE of Filing by DONALD J. TRUMP re 7 MOTION for Leave to Appear Pro
                    Hac Vice Todd Blanche Filing fee $ 100, receipt number ADCDC−10252226. Fee
                    Status: Fee Paid. (Lauro, John) (Entered: 08/09/2023)
  08/09/2023        MINUTE ORDER as to DONALD J. TRUMP: Granting 7 Motion for Leave to
                    Appear Pro Hac Vice Counsel should register for e−filing via PACER and file a
                    notice of appearance pursuant to LCrR 44.5(a). Click for instructions as to
                    DONALD J. TRUMP (1). Signed by Magistrate Judge Moxila A. Upadhyaya on
                    8/9/2023. (zcll) (Entered: 08/09/2023)
  08/09/2023   21   NOTICE OF ATTORNEY APPEARANCE: Filzah Pavalon appearing for DONALD
                    J. TRUMP (Pavalon, Filzah) (Entered: 08/09/2023)
  08/10/2023   22   MOTION for Leave to Appear Pro Hac Vice Gregory M. Singer Filing fee $ 100,
                    receipt number ADCDC−10266892. Fee Status: Fee Paid. by DONALD J. TRUMP.
                    (Lauro, John) (Entered: 08/10/2023)
  08/10/2023   23   RESPONSE TO ORDER OF THE COURT by USA as to DONALD J. TRUMP re
                    Order,,,, Set Deadlines,,, Government's Response to Court's August 3, 2023 Minute
                    Order (Gaston, Molly) (Entered: 08/10/2023)
  08/10/2023   25   MOTION for Hearing Pursuant to Classified Information Procedures Act by USA as
                    to DONALD J. TRUMP. (Attachments: # 1 Text of Proposed Order)(Windom,
                    Thomas) (Entered: 08/10/2023)
  08/10/2023   26   Memorandum in Opposition by USA as to DONALD J. TRUMP re Motion for
                    Speedy Trial, 18 Motion to Exclude (Gaston, Molly) (Entered: 08/10/2023)
  08/10/2023        MINUTE ORDER as to DONALD J. TRUMP: Granting 22 Motion for Leave to
                    Appear Pro Hac Vice. Gregory M. Singer is hereby admitted pro hac vice to appear in
                    this matter on behalf of Defendant. Counsel should register for e−filing via PACER
                    and file a notice of appearance pursuant to LCrR 44.5(a). Click for instructions.
                    Signed by Judge Tanya S. Chutkan on 08/10/2023. (lcc) (Entered: 08/10/2023)
  08/10/2023   27   NOTICE OF ATTORNEY APPEARANCE: Todd Blanche appearing for DONALD
                    J. TRUMP (Blanche, Todd) (Entered: 08/10/2023)
  08/10/2023        MINUTE ORDER as to DONALD J. TRUMP: The government's 24 Sealed Motion
                    for Leave to Submit Exhibit Ex Parte and Under Seal is hereby DENIED without
                    prejudice. Signed by Judge Tanya S. Chutkan on 8/10/2023. (zjd) (Entered:


                                                                                                           7
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 8 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 8 of 78


                    08/10/2023)
  08/11/2023        Minute Entry for proceedings held before Judge Tanya S. Chutkan: Hearing on the
                    Parties' Respective Protective Order Proposals as to DONALD J. TRUMP held on
                    8/11/2023. The Court shall issue a protective order consistent with the rulings made
                    on the record. Oral Order of the Court granting Government's 25 Motion for Pretrial
                    Conference Pursuant to the Classified Information Procedures Act. This hearing shall
                    proceed on August 28, 2023 at 10:00 AM in Courtroom 9 before Judge Tanya S.
                    Chutkan. Bond Status of Defendant: remains on Personal Recognizance; Court
                    Reporter: Bryan A. Wayne; Defense Attorneys: John F. Lauro, Gregory M. Singer,
                    and Todd Blanche; US Attorneys: Thomas Windom and Molly G. Gaston. (zjd)
                    (Entered: 08/11/2023)
  08/11/2023        MINUTE ORDER as to DONALD J. TRUMP: The government's 25 Motion for
                    Hearing Pursuant to Classified Information Procedures Act (CIPA) is GRANTED.
                    Defense counsel consented to the motion during the August 11, 2023 hearing.
                    Accordingly, the court will hold a hearing pursuant to CIPA Section 2 during the
                    status conference currently scheduled for August 28, 2023. Signed by Judge Tanya S.
                    Chutkan on 8/11/2023. (zjd) (Entered: 08/11/2023)
  08/11/2023   28   PROTECTIVE ORDER GOVERNING DISCOVERY AND AUTHORIZING
                    DISCLOSURE OF GRAND JURY TESTIMONY as to DONALD J. TRUMP.
                    Consistent with the rulings made on the record during the hearing on August 11,
                    2023, the Court grants in part and denies in part the Government's 10 Motion for
                    Protective Order. Signed by Judge Tanya S. Chutkan on 8/11/2023. (zjd) (Entered:
                    08/11/2023)
  08/11/2023   29   TRANSCRIPT OF HEARING ON PROTECTIVE ORDER in case as to DONALD J.
                    TRUMP before Judge Tanya S. Chutkan held on August 11, 2023; Page Numbers:
                    1−73. Date of Issuance: 8/11/2023. Court Reporter: Bryan A. Wayne. Transcripts may
                    be ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced above.
                    After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                    (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                    days to file with the court and the court reporter any request to redact personal
                    identifiers from this transcript. If no such requests are filed, the transcript will be
                    made available to the public via PACER without redaction after 90 days. The policy,
                    which includes the five personal identifiers specifically covered, is located on our
                    website at www.dcd.uscourts.gov.

                    Redaction Request due 9/1/2023. Redacted Transcript Deadline set for 9/11/2023.
                    Release of Transcript Restriction set for 11/9/2023.(Wayne, Bryan) (Main Document
                    29 replaced on 8/23/2023) (zhsj). (Entered: 08/11/2023)
  08/17/2023   30   RESPONSE TO ORDER OF THE COURT by DONALD J. TRUMP re Order,,,, Set
                    Deadlines,,, (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5
                    Exhibit, # 6 Exhibit, # 7 Exhibit)(Lauro, John) (Entered: 08/17/2023)
  08/21/2023   31   MOTION for Leave to File Reply Brief by USA as to DONALD J. TRUMP.
                    (Attachments: # 1 Text of Proposed Order Proposed Order)(Windom, Thomas)

                                                                                                              8
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 9 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 9 of 78


                    (Entered: 08/21/2023)
  08/21/2023        MINUTE ORDER as to DONALD J. TRUMP: The government's 31 Motion for
                    Leave to File Reply is hereby GRANTED. The government may file a reply in
                    support of its brief proposing a trial date by August 22, 2023. The reply brief shall be
                    limited to six pages. Signed by Judge Tanya S. Chutkan on 8/21/2023. (zjd) (Entered:
                    08/21/2023)
  08/21/2023   32   RESPONSE TO ORDER OF THE COURT by USA as to DONALD J. TRUMP re
                    Order,,,, Set Deadlines,,, Order on Motion for Leave to File,, Set/Reset Deadlines,
                    (Reply Brief) (Windom, Thomas) (Entered: 08/21/2023)
  08/21/2023   40   LEAVE TO FILE DENIED−Motion of D.A. Feliciano for Leave to File Amicus
                    Curiae Brief Supporting Neither Plaintiff Nor Defendant as to DONALD J. TRUMP.
                    "This document is unavailable as the Court denied its filing. Although Courts have in
                    rare instances exercised their discretion to permit third−party submissions in criminal
                    cases, neither the Federal Rules of Criminal Procedures nor the Local Rules
                    contemplate the filing of amicus curiae briefs. At this time, the court does not find it
                    necessary to depart from the ordinary procedures course by permitting this filing".
                    Signed by Judge Tanya S. Chutkan on 8/21/2023. (zhsj) (Entered: 08/29/2023)
  08/21/2023   41   LEAVE TO FILE DENIED− Motion for Judicial Notice Affidavit of Victor Shorkin
                    as to DONALD J. TRUMP. This document is unavailable as the Court denied its
                    filing. "This document is unavailable as the Court denied its filing. Although Courts
                    have in rare instances exercised their discretion to permit third−party submissions in
                    criminal cases, neither the Federal Rules of Criminal Procedures nor the Local Rules
                    contemplate the filing of amicus curiae briefs. At this time, the court does not find it
                    necessary to depart from the ordinary procedures course by permitting this filing".
                    Signed by Judge Tanya S. Chutkan on 8/21/2023. (zhsj) (Entered: 08/29/2023)
  08/21/2023   42   LEAVE TO FILE DENIED−Motion to Intervene as to DONALD J. TRUMP This
                    document is unavailable as the Court denied its filing. "This document is unavailable
                    as the Court denied its filing. Although Courts have in rare instances exercised their
                    discretion to permit third−party submissions in criminal cases, neither the Federal
                    Rules of Criminal Procedures nor the Local Rules contemplate the filing of amicus
                    curiae briefs. At this time, the court does not find it necessary to depart from the
                    ordinary procedures course by permitting this filing". Signed by Judge Tanya S.
                    Chutkan on 8/21/2023. (zhsj) (Entered: 08/29/2023)
  08/21/2023   43   LEAVE TO FILE DENIED−Petition for a Writ of Habeas Corpus as to DONALD J.
                    TRUMP This document is unavailable as the Court denied its filing. "This document
                    is unavailable as the Court denied its filing. Although Courts have in rare instances
                    exercised their discretion to permit third−party submissions in criminal cases, neither
                    the Federal Rules of Criminal Procedures nor the Local Rules contemplate the filing
                    of amicus curiae briefs. At this time, the court does not find it necessary to depart
                    from the ordinary procedures course by permitting this filing".. Signed by Judge
                    Tanya S. Chutkan on 8/21/2023. (zhsj) (Entered: 08/29/2023)
  08/21/2023   44   LEAVE TO FILE DENIED− Galaxy Bar Association as to DONALD J. TRUMP
                    This document is unavailable as the Court denied its filing. "This document is
                    unavailable as the Court denied its filing. Although Courts have in rare instances
                    exercised their discretion to permit third−party submissions in criminal cases, neither
                    the Federal Rules of Criminal Procedures nor the Local Rules contemplate the filing
                    of amicus curiae briefs. At this time, the court does not find it necessary to depart


                                                                                                               9
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 10 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 10 of 78


                     from the ordinary procedures course by permitting this filing". Signed by Judge Tanya
                     S. Chutkan on 8/21/2023. (zhsj) (Entered: 08/29/2023)
   08/21/2023   45   LEAVE TO FILE DENIED− Amicus Curiae in Support of Donald Trump as to
                     DONALD J. TRUMP This document is unavailable as the Court denied its filing.
                     "This document is unavailable as the Court denied its filing. Although Courts have in
                     rare instances exercised their discretion to permit third−party submissions in criminal
                     cases, neither the Federal Rules of Criminal Procedures nor the Local Rules
                     contemplate the filing of amicus curiae briefs. At this time, the court does not find it
                     necessary to depart from the ordinary procedures course by permitting this filing".
                     Signed by Judge Tanya S. Chutkan on 8/21/2023. (zhsj) (Entered: 08/29/2023)
   08/21/2023   46   LEAVE TO FILE DENIED− Moton of Former Judges and Senior Legal Officials for
                     Leave to File an Amicus Curiae Brief in Support of Government Proposed Trial Date
                     and Schedule as to DONALD J. TRUMP This document is unavailable as the Court
                     denied its filing. "This document is unavailable as the Court denied its filing.
                     Although Courts have in rare instances exercised their discretion to permit third−party
                     submissions in criminal cases, neither the Federal Rules of Criminal Procedures nor
                     the Local Rules contemplate the filing of amicus curiae briefs. At this time, the court
                     does not find it necessary to depart from the ordinary procedures course by permitting
                     this filing". Signed by Judge Tanya S. Chutkan on 8/21/2023. (zhsj) (Entered:
                     08/29/2023)
   08/21/2023   81   LEAVE TO FILE DENIED− MOTION TO INTERVENE THE OUTCOME OF
                     CASE AFFECTS DAVID REGINALD HERON AFTER MOTION INTERVENE
                     GRANTED [DAVID FILE SEPARATE MOTION − RULING TO HIRE
                     ATTORNEY) as to DONALD J. TRUMP This document is unavailable as the Court
                     denied its filing. "Even if construed as a motion for leave to file an amicus curiae
                     brief, the court is not persuaded that filing thissubmission is warranted. Although
                     courts have in rare instances exercised their discretion to permit third−party
                     submissions in criminal cases, neither the Federal Rules of Criminal Procedure nor the
                     Local Criminal Rulescontemplate the filing of amicus curiae briefs. At this time, the
                     court does not find it necessary to depart from the ordinary procedural course by
                     permitting this filing". Signed by Judge Tanya S. Chutkan on 8/21/2023. (zhsj)
                     (Entered: 10/06/2023)
   08/22/2023   33   Consent MOTION to Appoint a Classified Information Security Officer by USA as to
                     DONALD J. TRUMP. (Attachments: # 1 Text of Proposed Order Proposed
                     Order)(Windom, Thomas) (Entered: 08/22/2023)
   08/22/2023        MINUTE ORDER as to DONALD J. TRUMP: The government's 33 Consent Motion
                     to Appoint a Classified Information Security Officer is hereby GRANTED. The court
                     will issue a separate sealed order designating the Officer and any alternate Officers.
                     Signed by Judge Tanya S. Chutkan on 8/22/2023. (zjd) (Entered: 08/22/2023)
   08/22/2023   35   Unopposed MOTION for Protective Order Pursuant to the Classified Information
                     Procedures Act by USA as to DONALD J. TRUMP. (Attachments: # 1 Text of
                     Proposed Order Proposed CIPA Protective Order)(Windom, Thomas) (Entered:
                     08/22/2023)
   08/22/2023   37   ORDER as to DONALD J. TRUMP granting 35 Unopposed MOTION for Protective
                     Order Pursuant to the Classified Information Procedures Act. Signed by Judge Tanya
                     S. Chutkan on 8/22/2023. (zjd) (Entered: 08/22/2023)
   08/28/2023

                                                                                                                10
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 11 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 11 of 78


                     Minute Entry for proceedings held before Judge Tanya S. Chutkan: Status Conference
                     and Hearing Pursuant to Classified Information Procedures Act (CIPA) as to
                     DONALD J. TRUMP held on 8/28/2023. In the interests of justice (XT), and for the
                     reasons stated on the record, the Court grants Defendant's 18 Motion for Exclusion of
                     Time Under Speedy Trial Act. The time from 8/3/2023 through and including
                     8/28/2023 shall be excluded in computing the date for speedy trial in this case. Jury
                     Trial in this matter is set for March 4, 2024 at 9:30 AM in Courtroom 9 before Judge
                     Tanya S. Chutkan. Bond Status of Defendant: appearance waived, remains on
                     personal recognizance; Court Reporter: Bryan Wayne; Defense Attorneys: John F.
                     Lauro and Todd Blanche; US Attorneys: Molly G. Gaston and Thomas Windom. (zjd)
                     (Entered: 08/28/2023)
   08/28/2023   38   TRANSCRIPT OF 8/28/23 STATUS HEARING in case as to DONALD J. TRUMP
                     before Judge Tanya S. Chutkan held on August 28, 2023; Page Numbers: 1−61. Date
                     of Issuance: 8/28/2023. Court Reporter: Bryan A. Wayne. Transcripts may be ordered
                     by submitting the Transcript Order Form

                     For the first 90 days after this filing date, the transcript may be viewed at the
                     courthouse at a public terminal or purchased from the court reporter referenced above.
                     After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                     (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                     NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                     days to file with the court and the court reporter any request to redact personal
                     identifiers from this transcript. If no such requests are filed, the transcript will be
                     made available to the public via PACER without redaction after 90 days. The policy,
                     which includes the five personal identifiers specifically covered, is located on our
                     website at www.dcd.uscourts.gov.

                     Redaction Request due 9/18/2023. Redacted Transcript Deadline set for 9/28/2023.
                     Release of Transcript Restriction set for 11/26/2023.(Wayne, Bryan) (Entered:
                     08/28/2023)
   08/28/2023   39   PRETRIAL ORDER as to DONALD J. TRUMP: Upon consideration of the parties'
                     Proposed Briefing Schedules 23 30 32 , the court hereby sets the following pretrial
                     schedule. All pre−trial motions, excluding motions in limine, due 10/9/23, oppositions
                     due 10/23/23, and replies due 11/6/23. Motions in limine and Suppression Motions
                     due 12/27/23, oppositions due 1/9/24, and replies due 1/22/24. Not later than 12/4/23,
                     the government shall provide notice of evidence it intends to offer pursuant to Fed. R.
                     Evid. 404(b). Parties shall exchange expert witnesses on 12/11/23. Parties shall
                     exchange exhibit lists by 12/18/23 and file any objections to exhibits by 1/3/24;
                     replies due 1/9/24. Proposed jury instructions and voir dire questions due 1/15/24.
                     Parties shall exchange witness lists by 2/19/24. Trial will commence on 3/4/24 at 9:30
                     a.m. in Courtroom 9 unless otherwise specified. See Order for additional details and
                     instructions. Signed by Judge Tanya S. Chutkan on 8/28/2023. (zjd) Modified on
                     10/6/2023: See 82 Opinion and Order for amendments made to this order.
                     Modified on 11/7/2023: See 146 Opinion and Order for further amendments to
                     this order. (zjd). (Entered: 08/28/2023)
   09/05/2023        VACATED PURSUANT TO MINUTE ORDER FILED 9/5/2023.....MINUTE
                     ORDER as to DONALD J. TRUMP: The Government's 47 Motion for Leave to File
                     Unredacted Motion Under Seal, and to File Redacted Motion on Public Docket is
                     hereby GRANTED. The Clerk of the Court is directed to file under seal the

                                                                                                               11
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 12 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 12 of 78


                     unredacted copy of the Government's Motion (ECF No. 47−1), attaching Exhibit 1 to
                     the Government's Motion (ECF No. 47−2). The Clerk of the Court is further directed
                     to file on the public docket the redacted copy of the Government's Motion (ECF No.
                     47−3), attaching a placeholder sheet for Exhibit 1 to the Motion (ECF No. 47−4), and
                     the two proposed orders referenced in the Motion (ECF Nos. 47−5 and 47−6). Signed
                     by Judge Tanya S. Chutkan on 9/5/2023. (zjd) Modified on 9/5/2023 (zjd). (Entered:
                     09/05/2023)
   09/05/2023   48   MOTION to Vacate by DONALD J. TRUMP. (Lauro, John) (Entered: 09/05/2023)
   09/05/2023   49   Memorandum in Opposition by USA as to DONALD J. TRUMP re 48 Motion to
                     Vacate (Gaston, Molly) (Entered: 09/05/2023)
   09/05/2023        MINUTE ORDER as to DONALD J. TRUMP: Defendant's 48 Motion to Vacate is
                     hereby GRANTED. The court's previous Minute Order of September 5, 2023 is
                     VACATED. Defendant shall respond to the government's 47 Motion for Leave to File
                     by September 11, 2023; the government may file a Reply by September 13, 2023.
                     Any opposition or reply may be filed under seal. Going forward, all motions,
                     including motions for leave to file, must (1) indicate whether the movant has
                     conferred with opposing counsel, and (2) state the nonmovant's position on the
                     motion, if known. As it has done here, the court may require briefing on motions for
                     leave to file under seal on a timeline shorter than the default periods provided for in
                     the Local Criminal Rules. However, all such briefing may be filed under seal without
                     further order of the court. Signed by Judge Tanya S. Chutkan on 9/5/2023. (zjd)
                     (Entered: 09/05/2023)
   09/11/2023   50   MOTION for Recusal by DONALD J. TRUMP. (Attachments: # 1 Exhibit Transcript
                     Excerpt 1, # 2 Exhibit Transcript Excerpt 2)(Lauro, John) (Entered: 09/11/2023)
   09/11/2023        MINUTE ORDER as to DONALD J. TRUMP: Upon consideration of Defendant's 50
                     Motion for Recusal, it is hereby ORDERED that the government shall file any
                     opposition no later than September 14, 2023, and the defense shall file any reply
                     within three calendar days from the filing date of the government's opposition. All
                     other deadlines set by the court remain in effect. Defense counsel is reminded of the
                     requirement to confer with opposing counsel before filing any motion and to indicate
                     whether the motion is opposed. See 09/05/2023 Second Minute Order. Future motions
                     that fail to comply with that requirement may be denied without prejudice. Signed by
                     Judge Tanya S. Chutkan on 9/11/2023. (zjd) (Entered: 09/11/2023)
   09/13/2023   77   LEAVE TO FILE DENIED−Application for Relief in a Criminal Case by a Person
                     not a Party−Applicant Charles E. Hill as to DONALD J. TRUMP This document is
                     unavailable as the Court denied its filing. Signed by Judge Tanya S. Chutkan on
                     9/13/2023. (zhsj) (Entered: 10/06/2023)
   09/13/2023   78   LEAVE TO FILE DENIED−Application for Relief in a Criminal Case by a Person
                     not a Party−Applicant Charles E. Hill as to DONALD J. TRUMP This document is
                     unavailable as the Court denied its filing. "Even if construed as a motion for leave to
                     file an amicus curiae brief, the court is not persuaded thatfiling this submission is
                     warranted. Although courts have in rare instances exercised their discretionto permit
                     third−party submissions in criminal cases, neither the Federal Rules of Criminal
                     Procedurenor the Local Criminal Rules contemplate the filing of amicus curiae briefs.
                     At this time, the courtdoes not find it necessary to depart from the ordinary procedural
                     course by permitting this filing". Signed by Judge Tanya S. Chutkan on 9/13/2023.
                     (zhsj) (Entered: 10/06/2023)


                                                                                                                12
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 13 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 13 of 78


   09/13/2023   79   LEAVE TO FILE DENIED− Petition for a Writ of Habeas Corpus Continued
                     Application to Arrest Protective Order Dated: 8/11/23 as to DONALD J. TRUMP
                     This document is unavailable as the Court denied its filing. "Even if construed as a
                     motion for leave to file an amicus curiae brief, the court is not persuaded thatfiling
                     this submission is warranted. Although courts have in rare instances exercised their
                     discretion to permit third−party submissions in criminal cases, neither the Federal
                     Rules of Criminal Procedure nor the Local Criminal Rules contemplate the filing of
                     amicus curiae briefs. At this time,the court does not find it necessary to depart from
                     the ordinary procedural course by permitting this filing". Signed by Judge Tanya S.
                     Chutkan on 9/13/2023. (zhsj) (Entered: 10/06/2023)
   09/13/2023   80   LEAVE TO FILE DENIED−Letter Regarding Defendant's Right to Attend Trial as to
                     DONALD J. TRUMP This document is unavailable as the Court denied its filing.
                     "Even if construed as a motion for leave to file an amicus curiae brief, the court is not
                     persuaded that filing this submission is warranted. Although courtshave in rare
                     instances exercised their discretion to permit third−party submissions in criminal
                     cases, neither the Federal Rules of Criminal Procedure nor the Local Criminal Rules
                     contemplate the filing of amicus curiae briefs. At this time, the court does not find it
                     necessary to depart from the ordinaryprocedural course by permitting this filing"
                     Signed by Judge Tanya S. Chutkan on 9/13/2023. (zhsj) (Entered: 10/06/2023)
   09/13/2023   83   LEAVE TO FILE DENIED−Motion to Decriminalize as to DONALD J. TRUMP.
                     This document is unavailable as the Court denied its filing. Signed by Judge Tanya S.
                     Chutkan on 9/13/2023. (zhsj) (Entered: 10/06/2023)
   09/13/2023   84   LEAVE TO FILE DENIED− Petition for Intervention as to DONALD J. TRUMP
                     This document is unavailable as the Court denied its filing. "Even if construed as a
                     motion for leave to file an amicus curiae brief, the court is not persuaded that filing
                     this submission is warranted. Although courts have in rareinstances exercised their
                     discretion to permit third−partysubmissions in criminal cases, neither the Federal
                     Rulesof Criminal Procedure nor the Local Criminal Rulescontemplate the filing of
                     amicus curiae briefs. At thistime, the court does not find it necessary to depart
                     fromthe ordinary procedural course by permitting this filing". Signed by Judge Tanya
                     S. Chutkan on 9/13/2023. (zhsj) (Entered: 10/06/2023)
   09/14/2023   53   MOTION FOR BRIEFING SCHEDULE as to DONALD J. TRUMP. (Lauro, John)
                     Modified on 9/15/2023 (zhsj). (Entered: 09/14/2023)
   09/14/2023   54   Memorandum in Opposition by USA as to DONALD J. TRUMP re 50 Motion for
                     Recusal (Gaston, Molly) (Entered: 09/14/2023)
   09/15/2023   55   Opinion and Order as to DONALD J. TRUMP granting the government's 47 Motion
                     for Leave to File Unredacted Motion Under Seal, and to File Redacted Motion on
                     Public Docket, and granting in part and denying in part Defendant's 53 Motion for
                     Briefing Schedule. Defendant shall file any Opposition to the government's
                     substantive Motion by September 25, 2023, and the government shall file any Reply
                     by September 30, 2023. The Clerk of the Court is directed to file under seal the
                     unredacted copy of the government's substantive Motion (ECF No. 47−1), attaching
                     Exhibit 1 to the that Motion (ECF No. 47−2) under seal as well. The Clerk of the
                     Court is further directed to file on the public docket the redacted copy of the
                     government's Motion (ECF No. 47−3), attaching a placeholder sheet for Exhibit 1 to
                     the Motion (ECF No. 47−4), and attaching the two proposed orders referenced in the
                     Motion (ECF Nos. 47−5 and 47−6). Finally, the Clerk of the Court is directed to
                     unseal Defendant's motion, ECF No. 53. See Order for details. Signed by Judge Tanya

                                                                                                                 13
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 14 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 14 of 78


                     S. Chutkan on 9/15/2023. (zjd) (Entered: 09/15/2023)
   09/15/2023   57   MOTION to Ensure that Extrajudicial Statements Do Not Prejudice these Proceedings
                     by USA as to DONALD J. TRUMP. (Attachments: # 1 Exhibit, # 2 Text of Proposed
                     Order Exhibit 47−5, # 3 Text of Proposed Order Exhibit 47−6) (zhsj) (Attachment 2
                     replaced on 9/21/2023) (zhsj). (Entered: 09/15/2023)
   09/17/2023   58   REPLY in Support by DONALD J. TRUMP re 50 MOTION for Recusal (Lauro,
                     John) (Entered: 09/17/2023)
   09/25/2023   59   NOTICE of Filing by USA as to DONALD J. TRUMP (Attachments: # 1 Cover
                     Sheet)(Gaston, Molly) (Entered: 09/25/2023)
   09/25/2023   60   Memorandum in Opposition by DONALD J. TRUMP re 57 Motion for Miscellaneous
                     Relief, (Lauro, John) (Entered: 09/25/2023)
   09/27/2023   61   MEMORANDUM OPINION and ORDER as to DONALD J. TRUMP denying 50
                     Defendant's Motion for Recusal of District Judge Pursuant to 28 U.S.C. § 455(a). See
                     attached memorandum opinion and order for full details. Signed by Judge Tanya S.
                     Chutkan on 9/27/2023. (zjd) (Entered: 09/27/2023)
   09/27/2023   62   MOTION for Extension of Time to File CIPA Sect. 5 and response to ex parte notice
                     by DONALD J. TRUMP. (Blanche, Todd) (Entered: 09/27/2023)
   09/27/2023   67   LEAVE TO FILE DENIED− Petition for Writ of Error Corum Noblis and
                     Memorandum of Law in Support Thereof as to DONALD J. TRUMP. This document
                     is unavailable as the Court denied its filing. "Even if construed as a motion for leave
                     to file an amicus curiae brief, the court is not persuaded that filing this submission is
                     warranted. Although courts have in rare instances exercised their discretion to permit
                     third−party submissions in criminal cases, neither the Federal Rules of Criminal
                     Procedure nor the Local Criminal Rules contemplate the filing of amicus curiae briefs.
                     At this time, the court does not find it necessary to depart from the ordinary
                     procedural course by permitting this filing". Signed by Judge Tanya S. Chutkan on
                     9/27/2023. (zhsj) (Entered: 10/05/2023)
   09/27/2023   68   LEAVE TO FILE DENIED−Motion to Intervene as to DONALD J. TRUMP. This
                     document is unavailable as the Court denied its filing. "Even if construed as a motion
                     for leave to file an amicus curiae brief, the court is not persuaded that filing this
                     submission is warranted. Although courts have in rare instances exercised their
                     discretion to permit third−party submissions in criminal cases,neither the Federal
                     Rules of Criminal Procedure nor the Local Criminal Rules contemplate the filing of
                     amicus curiae briefs. At this time, the court does notfind it necessary to depart from
                     the ordinary procedural course by permitting this filing". Signed by Judge Tanya S.
                     Chutkan on 9/27/2023. (zhsj) (Entered: 10/05/2023)
   09/27/2023   69   LEAVE TO FILE DENIED− Application for Relief in a Criminal Case by a Person
                     not a Party−Applicant Charles E. Hill as to DONALD J. TRUMP. This document is
                     unavailable as the Court denied its filing. "Even if construed as a motion for leave to
                     file an amicus curiae brief, the court is not persuaded that filing this submission is
                     warranted. Although courts have in rare instances exercised their discretion to permit
                     third−party submissions in criminal cases, neither the Federal Rules of Criminal
                     Procedure nor the Local Criminal Rules contemplate the filing of amicus curiae briefs.
                     At this time, the court does not find it necessary to depart from the ordinary
                     procedural course by permitting this filing". Signed by Judge Tanya S. Chutkan on
                     9/27/2023. (zhsj) (Entered: 10/05/2023)


                                                                                                                 14
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 15 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 15 of 78


   09/27/2023   70   LEAVE TO FILE DENIED−Motion for Reconsideration of Order Date 8/21/2023 as
                     to DONALD J. TRUMP This document is unavailable as the Court denied its filing.
                     "Even if construed as a motion for leave to file an amicus curiae brief, the court is not
                     persuaded that filing this submission is warranted. Although courts have in rare
                     instances exercised their discretion to permit third−partysubmissions in criminal
                     cases, neither the Federal Rules of Criminal Procedure nor the Local Criminal Rules
                     contemplate the filing of amicus curiae briefs. At this time, the court does not find it
                     necessary to depart from the ordinary procedural course by permitting this filing".
                     Signed by Judge Tanya S. Chutkan on 9/27/2023. (zhsj) (Entered: 10/05/2023)
   09/27/2023   71   LEAVE TO FILE DENIED− Motion to Intervene as to DONALD J. TRUMP This
                     document is unavailable as the Court denied its filing. "Even if construed as a motion
                     for leave to file an amicus curiae brief, the court is not persuaded that filing this
                     submission is warranted. Although courts have in rare instances exercised their
                     discretion to permit third−party submissions in criminal cases, neither the Federal
                     Rules of Criminal Procedure nor the Local Criminal Rulescontemplate the filing of
                     amicus curiae briefs. At this time, the court does not find it necessary to depart from
                     the ordinary procedural course by permitting this filing". Signed by Judge Tanya S.
                     Chutkan on 9/27/2023. (zhsj) (Entered: 10/05/2023)
   09/27/2023   72   LEAVE TO FILE DENIED− Motion of D.A. Feliciano for Leave to File Amicus
                     Curiae Brief Supporting Neither Plaintiff Nor Defendant as to DONALD J. TRUMP
                     This document is unavailable as the Court denied its filing. "Although courts have in
                     rare instances exercised theirdiscretion to permit third−party submissions in
                     criminalcases, neither the Federal Rules of Criminal Procedure northe Local Criminal
                     Rules contemplate the filing of amicuscuriae briefs. At this time, the court does not
                     find it necessaryto depart from the ordinary procedural course by permittingthis
                     filing". Signed by Judge Tanya S. Chutkan on 9/27/2023. (zhsj) (Entered: 10/05/2023)
   09/27/2023   73   LEAVE TO FILE DENIED− New Motion to Intervene−New Fresh Most Recent
                     Evidence Relate 6/4/2009 &11/4/2008 as to DONALD J. TRUMP This document is
                     unavailable as the Court denied its filing. "Even if construed as a motion for leave to
                     file an amicus curiae brief, the court is not persuaded thatfiling this submission is
                     warranted. Although courts have in rare instances exercised their discretion topermit
                     third−party submissions in criminal cases, neither the Federal Rules of Criminal
                     Procedure northe Local Criminal Rules contemplate the filing of amicus curiae briefs.
                     At this time, the court does notfind it necessary to depart from the ordinary procedural
                     course by permitting this filing".. Signed by Judge Tanya S. Chutkan on 9/27/2023.
                     (zhsj) (Entered: 10/05/2023)
   09/27/2023   86   LEAVE TO FILE DENIED− Petition for Writ of Error Coram Nobis as to DONALD
                     J. TRUMP This document is unavailable as the Court denied its filing. "Even if
                     construed as a motion for leave to file an amicus curiae brief, the court is not
                     persuaded that filing this submission is warranted. Although courts have in rare
                     instances exercised their discretion to permit third−party submissions in criminal
                     cases, neither the Federal Rules of Criminal Procedure nor the Local Criminal Rules
                     contemplate the filing of amicus curiae briefs. At this time, the court does not find it
                     necessary to depart from the ordinary procedural course by permitting this filing".
                     Signed by Judge Tanya S. Chutkan on 9/27/2023. (zhsj) (Entered: 10/09/2023)
   09/27/2023   87   LEAVE TO FILE DENIED− Motion to Intervene as to DONALD J. TRUMP This
                     document is unavailable as the Court denied its filing. Even if construed as a motion
                     for leave to file anamicus curiae brief, the court is not persuaded thatfiling this


                                                                                                                 15
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 16 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 16 of 78


                     submission is warranted. Although courtshave in rare instances exercised their
                     discretion topermit third−party submissions in criminal cases,neither the Federal
                     Rules of Criminal Procedure northe Local Criminal Rules contemplate the filing
                     ofamicus curiae briefs. At this time, the court does notfind it necessary to depart from
                     the ordinaryprocedural course by permitting this filing." Signed by Judge Tanya S.
                     Chutkan on 9/27/2023. (zhsj) (Entered: 10/09/2023)
   09/27/2023   88   LEAVE TO FILE DENIED− Proof of Service as to DONALD J. TRUMP This
                     document is unavailable as the Court denied its filing. "Even if construed as a motion
                     for leave to file an amicuscuriae brief, the court is not persuaded that filing
                     thissubmission is warranted. Although courts have in rareinstances exercised their
                     discretion to permit third−partysubmissions in criminal cases, neither the Federal
                     Rulesof Criminal Procedure nor the Local Criminal Rulescontemplate the filing of
                     amicus curiae briefs. At thistime, the court does not find it necessary to depart
                     fromthe ordinary procedural course by permitting this filing".. Signed by Judge Tanya
                     S. Chutkan on 9/27/2023. (zhsj) (Entered: 10/09/2023)
   09/27/2023   89   LEAVE TO FILE DENIED− Motion for Reconsideration of Order Date 8/21/2023 as
                     to DONALD J. TRUMP This document is unavailable as the Court denied its filing.
                     "Even if construed as a motion for leave to file an amicuscuriae brief, the court is not
                     persuaded that filing thissubmission is warranted. Although courts have in
                     rareinstances exercised their discretion to permit third−partysubmissions in criminal
                     cases, neither the Federal Rulesof Criminal Procedure nor the Local Criminal
                     Rulescontemplate the filing of amicus curiae briefs. At thistime, the court does not
                     find it necessary to depart fromthe ordinary procedural course by permitting this
                     filing". Signed by Judge Tanya S. Chutkan on 9/27/2023. (zhsj) (Entered: 10/09/2023)
   09/27/2023   90   LEAVE TO FILE DENIED− Motion to Intervene as to DONALD J. TRUMP This
                     document is unavailable as the Court denied its filing. Even if construed as a motion
                     for leave to file anamicus curiae brief, the court is not persuaded thatfiling this
                     submission is warranted. Although courtshave in rare instances exercised their
                     discretion topermit third−party submissions in criminal cases,neither the Federal
                     Rules of Criminal Procedure northe Local Criminal Rules contemplate the filing
                     ofamicus curiae briefs. At this time, the court doesnot find it necessary to depart from
                     the ordinaryprocedural course by permitting this filing." Signed by Judge Tanya S.
                     Chutkan on 9/27/2023. (zhsj) (Entered: 10/09/2023)
   09/27/2023   91   LEAVE TO FILE DENIED− Motion of D.A. Feliciano for Leave to File Amicus
                     Curiae Brief Supporting Neither Plaintiff Nor Defendant as to DONALD J. TRUMP
                     This document is unavailable as the Court denied its filing. "Although courts have in
                     rare instances exercised theirdiscretion to permit third−party submissions in
                     criminalcases, neither the Federal Rules of Criminal Procedure northe Local Criminal
                     Rules contemplate the filing of amicuscuriae briefs. At this time, the court does not
                     find it necessaryto depart from the ordinary procedural course by permittingthis
                     filing." Signed by Judge Tanya S. Chutkan on 9/27/2023. (zhsj) (Entered: 10/09/2023)
   09/27/2023   92   LEAVE TO FILE DENIED− New Motion to Intervene−New Fresh Most Recent
                     Evidence Relate 6/4/2009 &11/4/2008 as to DONALD J. TRUMP This document is
                     unavailable as the Court denied its filing. "Even if construed as a motion for leave to
                     file an amicus curiae brief, the court is not persuaded thatfiling this submission is
                     warranted. Although courts have in rare instances exercised their discretion topermit
                     third−party submissions in criminal cases, neither the Federal Rules of Criminal
                     Procedure northe Local Criminal Rules contemplate the filing of amicus curiae briefs.


                                                                                                                16
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 17 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 17 of 78


                     At this time, the court does notfind it necessary to depart from the ordinary procedural
                     course by permitting this filing". Signed by Judge Tanya S. Chutkan on 9/27/2023.
                     (zhsj) (Entered: 10/09/2023)
   09/28/2023   63   MOTION for Extension of Time to File Pretrial Motions by DONALD J. TRUMP.
                     (Lauro, John) (Entered: 09/28/2023)
   09/28/2023        MINUTE ORDER as to DONALD J. TRUMP: It is hereby ORDERED that by
                     October 3, 2023, the government shall file any opposition to both Defendant's 62
                     Motion for Access to CIPA § 4 Filing and an Adjournment of the CIPA § 5 Deadline
                     and Defendant's 63 Motion for Extension of Time to File Pretrial Motions; and that
                     the defense shall file any reply within three calendar days from the filing date of the
                     government's opposition. Signed by Judge Tanya S. Chutkan on 9/28/2023. (zjd)
                     (Entered: 09/28/2023)
   09/29/2023        MINUTE ORDER as to DONALD J. TRUMP: The court hereby schedules a hearing
                     on the government's 57 Motion to Ensure that Extrajudicial Statements Do Not
                     Prejudice These Proceedings on October 16, 2023 at 10:00 AM in Courtroom 9. The
                     requirement of Defendant's appearance is waived for this hearing. Signed by Judge
                     Tanya S. Chutkan on 9/29/2023. (zjd) (Entered: 09/29/2023)
   09/29/2023   64   REPLY in Support by USA as to DONALD J. TRUMP re 57 MOTION to Ensure that
                     Extrajudicial Statements Do Not Prejudice these Proceedings (Gaston, Molly)
                     (Entered: 09/29/2023)
   10/02/2023   65   Memorandum in Opposition by USA as to DONALD J. TRUMP re 62 Motion for
                     Extension of Time to File CIPA Section 5 and Response to Ex Parte Notice (Windom,
                     Thomas) (Entered: 10/02/2023)
   10/02/2023   66   Memorandum in Opposition by USA as to DONALD J. TRUMP re 63 Motion for
                     Extension of Time to File Pretrial Motions (Windom, Thomas) (Entered: 10/02/2023)
   10/03/2023        MINUTE ORDER as to DONALD J. TRUMP: By October 10, 2023, defense counsel
                     John F. Lauro and Gregory M. Singer shall initiate and complete all security clearance
                     tasks as directed by the Litigation Security Group of the U.S. Department of Justice,
                     and thereafter file a Notice of Compliance by October 11, 2023. The Notice shall also
                     state whether the defense anticipates that any other of its members, whose assistance
                     is reasonably required, will need to obtain a security clearance. Signed by Judge
                     Tanya S. Chutkan on 10/3/2023. (zjd) (Entered: 10/03/2023)
   10/03/2023        Set/Reset Deadlines as to DONALD J. TRUMP: Notice of Compliance due by
                     10/11/2023. (mac) (Entered: 10/03/2023)
   10/04/2023        MINUTE ORDER as to DONALD J. TRUMP: It is hereby ORDERED that court will
                     hold an ex parte Classified Information Procedures Act hearing with the defense at a
                     time and place arranged with defense counsel. Signed by Judge Tanya S. Chutkan on
                     10/4/2023. (zjd) (Entered: 10/04/2023)
   10/05/2023   74   MOTION to Dismiss Case by DONALD J. TRUMP. (Lauro, John) (Entered:
                     10/05/2023)
   10/05/2023   75   REPLY in Support by DONALD J. TRUMP re 63 MOTION for Extension of Time to
                     File Pretrial Motions (Lauro, John) (Entered: 10/05/2023)
   10/05/2023   76   REPLY in Support by DONALD J. TRUMP re 62 MOTION for Extension of Time to
                     File CIPA Sect. 5 and response to ex parte notice (Lauro, John) (Entered: 10/05/2023)


                                                                                                                17
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 18 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 18 of 78


   10/06/2023   82   OPINION and ORDER as to DONALD J. TRUMP granting in part and denying in
                     part Defendant's 62 Motion for Access to CIPA § 4 Filing and An Adjournment of the
                     CIPA § 5 Deadline; granting in part and denying in part Defendant's 63 Motion for
                     Extension of Time to File Pretrial Motions; and amending in part the court's 39
                     Pretrial Order. Defense objections to ex parte nature of government's CIPA § 4
                     submission due October 11, 2023; government response due October 18, 2023.
                     Defense CIPA § 5 notice due on October 26, 2023, with supplemental notices due
                     within 20 days of receiving access to additional classified discovery materials.
                     Dispositive motions, including motions to dismiss, due October 23, 2023; oppositions
                     due within 14 days of motion's filing; replies due within 10 days of opposition's filing.
                     Rule 17(c) motions and motions to compel due November 9, 2023; oppositions due
                     November 24, 2023; replies due December 1, 2023. See Opinion & Order for details.
                     Signed by Judge Tanya S. Chutkan on 10/6/2023. (zjd) Modified on 11/7/2023: See
                     146 Opinion and Order for amendments to the deadlines set in this opinion and
                     order. (zjd). (Entered: 10/06/2023)
   10/06/2023   94   LEAVE TO FILE DENIED− Notice of Appeal as to DONALD J. TRUMP This
                     document is unavailable as the Court denied its filing. "Even assuming a third party
                     could file a notice of appeal in a criminal case which the Federal Rules of Criminal
                     Procedure and Local Criminal Rules do not contemplate, this filing does not comply
                     with Rule 3(c) of the Circuit Rules of the U.S. Court of Appeals for the District of
                     Columbia Circuit". Signed by Judge Tanya S. Chutkan on 10/6/2023. (zhsj) (Entered:
                     10/10/2023)
   10/06/2023   96   LEAVE TO FILE DENIED− Petition for a Writ of Habeas Corpus, Continued Judge
                     Chutkan Impermissibly Held First Amendment to be Unconstitutional as to DONALD
                     J. TRUMP This document is unavailable as the Court denied its filing. Even if
                     construed as a motion for leave to file an amicus curiae brief, the court is not
                     persuaded thatfiling this submission is warranted. Although courts have in rare
                     instances exercised their discretionto permit third−party submissions in criminal
                     cases, neither the Federal Rules of CriminalProcedure nor the Local Criminal Rules
                     contemplate the filing of amicus curiae briefs. At this time,the court does not find it
                     necessary to depart from the ordinary procedural course by permittingthis filing".
                     Signed by Judge Tanya S. Chutkan on 10/6/2023. (zhsj) (Entered: 10/10/2023)
   10/09/2023   85   MOTION for Leave to Appear Pro Hac Vice Emil Bove Filing fee $ 100, receipt
                     number ADCDC−10406576. Fee Status: Fee Paid. by DONALD J. TRUMP. (Lauro,
                     John) (Entered: 10/09/2023)
   10/10/2023   93   LEAVE TO FILE DENIED− Notice of Appeal as to DONALD J. TRUMP This
                     document is unavailable as the Court denied its filing. "Even assuming a third
                     partycould file a notice of appeal in acriminal cases, which theFederal Rules of
                     CriminalProcedure and and LocalCriminal Rules do notcontemplate, this filing does
                     notcomply with Rule 3(c) of theCircuit Rules of the U.S. Courtof Appeals for the
                     District ofColumbia Circuit".. Signed by Judge Tanya S. Chutkan on 10/6/2023. (zhsj)
                     (Entered: 10/10/2023)
   10/10/2023   95   LEAVE TO FILE DENIED− Notice of Appeal as to DONALD J. TRUMP This
                     document is unavailable as the Court denied its filing. "Even assuming a third
                     partycould file a notice of appeal in acriminal cases, which theFederal Rules of
                     CriminalProcedure and and LocalCriminal Rules do notcontemplate, this filing does
                     notcomply with Rule 3(c) of theCircuit Rules of the U.S. Courtof Appeals for the
                     District ofColumbia Circuit".. Signed by Judge Tanya S. Chutkan on 10/6/2023. (zhsj)


                                                                                                                 18
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 19 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 19 of 78


                      (Entered: 10/10/2023)
   10/10/2023    97   MOTION for Order for Fair and Protective Jury Procedures by USA as to DONALD
                      J. TRUMP. (Gaston, Molly) (Entered: 10/10/2023)
   10/10/2023    98   MOTION for Formal Pretrial Notice of the Defendant's Intent to Rely on
                      Advice−of−Counsel Defense by USA as to DONALD J. TRUMP. (Attachments: # 1
                      Text of Proposed Order)(Windom, Thomas) (Entered: 10/10/2023)
   10/10/2023         MINUTE ORDER as to DONALD J. TRUMP: It is hereby ORDERED that by
                      October 20, 2023, the defense shall file any opposition to the government's 97 Motion
                      for Fair and Protective Jury Procedures and 98 Motion for Formal Pretrial Notice of
                      the Defendant's Intent to Rely on Advice−of−Counsel Defense; and that the
                      government shall file any reply in support of those motions by October 25, 2023.
                      Signed by Judge Tanya S. Chutkan on 10/10/2023. (zjd) (Entered: 10/10/2023)
   10/11/2023         MINUTE ORDER as to DONALD J. TRUMP: Granting 85 Motion for Leave to
                      Appear Pro Hac Vice. Emil Bove is hereby admitted pro hac vice to appear in this
                      matter on behalf of Defendant. Counsel should register for e−filing via PACER
                      and file a notice of appearance pursuant to LCrR 44.5(a). Click for instructions.
                      Signed by Judge Tanya S. Chutkan on 10/11/2023. (zjd) (Entered: 10/11/2023)
   10/11/2023    99   MOTION for Discovery (PRE−TRIAL RULE 17(c) SUBPOENAS) by DONALD J.
                      TRUMP. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit,
                      # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit)(Lauro,
                      John) (Entered: 10/11/2023)
   10/11/2023         MINUTE ORDER as to DONALD J. TRUMP: It is hereby ORDERED that by
                      October 25, 2023, the government shall file any opposition to Defendant's 99 Motion
                      for Pre−Trial Rule 17(c) Subpoenas; and the defense shall file any reply in support of
                      its motion by November 1, 2023. Signed by Judge Tanya S. Chutkan on 10/11/2023.
                      (zjd) (Entered: 10/11/2023)
   10/11/2023   100   NOTICE of Compliance by DONALD J. TRUMP re Order,,, Set Deadlines,, (Lauro,
                      John) (Entered: 10/11/2023)
   10/11/2023   101   MOTION to Access CIPA Section 4 Filing by DONALD J. TRUMP. (Blanche, Todd)
                      (Entered: 10/11/2023)
   10/13/2023   102   NOTICE OF ATTORNEY APPEARANCE: Emil Bove appearing for DONALD J.
                      TRUMP (Bove, Emil) (Entered: 10/13/2023)
   10/16/2023         Minute Entry for proceedings held before Judge Tanya S. Chutkan: Motion Hearing
                      as to DONALD J. TRUMP held on 10/16/2023 re 57 Motion to Ensure that
                      Extrajudicial Statements Do Not Prejudice These Proceedings. Order forthcoming.
                      Bond Status of Defendant: appearance waived, remains on personal recognizance;
                      Court Reporter: Bryan Wayne; Defense Attorneys: John F. Lauro and Todd Blanche;
                      US Attorneys: Molly G. Gaston and Thomas Windom. (zjd) (Entered: 10/16/2023)
   10/16/2023   103   TRANSCRIPT OF MOTION HEARING in case as to DONALD J. TRUMP before
                      Judge Tanya S. Chutkan held on October 16, 2023; Page Numbers: 1−86. Date of
                      Issuance: 10/16/2023. Court Reporter: Bryan A. Wayne. Transcripts may be ordered
                      by submitting the Transcript Order Form

                      For the first 90 days after this filing date, the transcript may be viewed at the
                      courthouse at a public terminal or purchased from the court reporter referenced above.

                                                                                                               19
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 20 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 20 of 78


                      After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                      (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                      NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                      days to file with the court and the court reporter any request to redact personal
                      identifiers from this transcript. If no such requests are filed, the transcript will be
                      made available to the public via PACER without redaction after 90 days. The policy,
                      which includes the five personal identifiers specifically covered, is located on our
                      website at www.dcd.uscourts.gov.

                      Redaction Request due 11/6/2023. Redacted Transcript Deadline set for 11/16/2023.
                      Release of Transcript Restriction set for 1/14/2024.(Wayne, Bryan) (Entered:
                      10/16/2023)
   10/16/2023   104   NOTICE OF ATTORNEY APPEARANCE James Pearce appearing for USA.
                      (Pearce, James) (Main Document 104 replaced on 10/17/2023) (zhsj). (Entered:
                      10/16/2023)
   10/17/2023   105   OPINION and ORDER as to DONALD J. TRUMP: Granting in part and denying in
                      part the government's 57 Motion to Ensure that Extrajudicial Statements Do Not
                      Prejudice These Proceedings; and denying as moot the government's sealed 56
                      Motion to Ensure that Extrajudicial Statements Do Not Prejudice These Proceedings.
                      Signed by Judge Tanya S. Chutkan on 10/17/2023. (zjd) Modified on 10/20/2023:
                      Opinion and Order administratively stayed pursuant to Minute Order filed 10/20/2023
                      (zjd). Modified on 10/29/2023: Administrative stay lifted pursuant to 124 Opinion and
                      Order (zjd). (Entered: 10/17/2023)
   10/17/2023   106   NOTICE OF APPEAL (Interlocutory) by DONALD J. TRUMP re 105 Memorandum
                      Opinion,, Order,. Filing fee $ 505, receipt number ADCDC−10425241. Fee Status:
                      Fee Paid. Parties have been notified. (Lauro, John) (Entered: 10/17/2023)
   10/18/2023   107   Transmission of the Notice of Appeal, 105 Opinion and Order, and Docket Sheet to
                      US Court of Appeals. The Court of Appeals fee was paid on 10/17/2023 as to
                      DONALD J. TRUMP re 106 Notice of Appeal − Interlocutory. (zhsj) (Entered:
                      10/18/2023)
   10/18/2023         USCA Case Number as to DONALD J. TRUMP 23−3190 for 106 Notice of Appeal −
                      Interlocutory filed by DONALD J. TRUMP. (zhsj) (Entered: 10/18/2023)
   10/18/2023   108   Memorandum in Opposition by USA as to DONALD J. TRUMP re 101 Motion to
                      Access CIPA Section 4 Filing (Windom, Thomas) (Entered: 10/18/2023)
   10/19/2023   109   Memorandum in Opposition by USA as to DONALD J. TRUMP re 74 Motion to
                      Dismiss Case (Pearce, James) (Entered: 10/19/2023)
   10/20/2023   110   MOTION to Stay Pending Appeal, Request for Temporary Administrative Stay, and
                      Memorandum in Support by DONALD J. TRUMP. (Lauro, John) (Entered:
                      10/20/2023)
   10/20/2023         MINUTE ORDER as to DONALD J. TRUMP: Upon consideration of Defendant's
                      opposed 110 Motion for Stay Pending Appeal, Request for Temporary Administrative
                      Stay, and Memorandum in Support, it is hereby ORDERED that the court's 105
                      Opinion and Order is administratively STAYED to permit the parties' briefing and the
                      court's consideration of Defendant's Motion. It is FURTHER ORDERED that the
                      government shall file any opposition to Defendant's Motion by October 25, 2023, and


                                                                                                                20
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 21 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 21 of 78


                      that Defendant shall file any Reply by October 28, 2023. Signed by Judge Tanya S.
                      Chutkan on 10/20/2023. (zjd) (Entered: 10/20/2023)
   10/20/2023   111   RESPONSE by DONALD J. TRUMP re 97 MOTION for Order for Fair and
                      Protective Jury Procedures (Lauro, John) (Entered: 10/20/2023)
   10/20/2023   112   RESPONSE by DONALD J. TRUMP re 98 MOTION for Formal Pretrial Notice of
                      the Defendant's Intent to Rely on Advice−of−Counsel Defense (Lauro, John)
                      (Entered: 10/20/2023)
   10/23/2023   113   MOTION to Dismiss Case Based on Constitutional Grounds by DONALD J.
                      TRUMP. (Lauro, John) (Entered: 10/23/2023)
   10/23/2023   114   MOTION to Dismiss Case Based on Statutory Grounds by DONALD J. TRUMP.
                      (Lauro, John) (Entered: 10/23/2023)
   10/23/2023   115   MOTION to Strike Inflammatory Allegations From the Indictment by DONALD J.
                      TRUMP. (Lauro, John) (Entered: 10/23/2023)
   10/23/2023   116   MOTION to Dismiss Case for Selective and Vindictive Prosecution by DONALD J.
                      TRUMP. (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit
                      Exhibit 3, # 4 Exhibit Exhibit 4)(Bove, Emil) (Entered: 10/23/2023)
   10/25/2023   117   REPLY in Support by USA as to DONALD J. TRUMP re 97 MOTION for Order for
                      Fair and Protective Jury Procedures (Attachments: # 1 Text of Proposed
                      Order)(Gaston, Molly) (Entered: 10/25/2023)
   10/25/2023   118   REPLY in Support by USA as to DONALD J. TRUMP re 98 MOTION for Formal
                      Pretrial Notice of the Defendant's Intent to Rely on Advice−of−Counsel Defense
                      (Windom, Thomas) (Entered: 10/25/2023)
   10/25/2023   119   Memorandum in Opposition by USA as to DONALD J. TRUMP re 99 Motion for
                      Discovery, (Windom, Thomas) (Entered: 10/25/2023)
   10/25/2023   120   Memorandum in Opposition by USA as to DONALD J. TRUMP re 110 Motion to
                      Stay (Gaston, Molly) (Entered: 10/25/2023)
   10/26/2023   121   NOTICE of CIPA § 5 Filing and Objection to Unauthorized Deletions of Classified
                      Information by DONALD J. TRUMP (Blanche, Todd) (Entered: 10/26/2023)
   10/26/2023   122   REPLY in Support by DONALD J. TRUMP re 74 MOTION to Dismiss Case (Lauro,
                      John) (Entered: 10/26/2023)
   10/27/2023         MINUTE ORDER as to DONALD J. TRUMP: Defendant's combined response, if
                      any, to the 1 Media Coalition's Application for Audiovisual Access to Criminal Trial
                      Proceedings, filed in Case No. 23−mc−99−TSC, and 1 Application of NBCUniversal
                      Media, LLC to Permit Video and Audio of Trial in United States v. Donald Trump,
                      filed in Case No. 23−mc−107−TSC, is due November 10, 2023. It is FURTHER
                      ORDERED that any response shall be docketed in Case No. 23−mc−99−TSC. Signed
                      by Judge Tanya S. Chutkan on 10/27/2023. (zjd) (Entered: 10/27/2023)
   10/28/2023   123   REPLY in Support by DONALD J. TRUMP re 110 MOTION to Stay Pending
                      Appeal, Request for Temporary Administrative Stay, and Memorandum in Support
                      (Lauro, John) (Entered: 10/28/2023)
   10/29/2023   124   OPINION and ORDER as to DONALD J. TRUMP: Denying Defendant's 110 Motion
                      to Stay Pending Appeal, and lifting the administrative stay imposed by the court's


                                                                                                             21
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 22 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 22 of 78


                      October 20, 2023 Minute Order. Signed by Judge Tanya S. Chutkan on 10/29/2023.
                      (zjd) (Entered: 10/29/2023)
   10/31/2023   125   LEAVE TO FILE DENIED− Motion of the American Civil Liberties Union & the
                      American Civil Liberties Union of the District of Columbia for Leave to File Brief
                      Amici Curae in Aid of the Court's Re−Evaluation of its Gag Order as to DONALD J.
                      TRUMP This document is unavailable as the Court denied its filing. "Although courts
                      have in rare instances exercised their discretion to permit third−party submissions in
                      criminal cases, neither the Federal Rules of Criminal Procedure nor the LocalCriminal
                      Rules contemplate the filing of amicus curiae briefs. At this time,the court does not
                      find it necessary to depart from the ordinary proceduralcourse by permitting this
                      filing." Signed by Judge Tanya S. Chutkan on 10/31/2023. (zhsj) (Entered:
                      10/31/2023)
   10/31/2023   131   LEAVE TO FILE DENIED− Amicus Declaration in Support of United States
                      Opposition to Defendant's Motion to Dismiss Dkt 74 Due "Presidential Immunity" as
                      to DONALD J. TRUMP This document is unavailable as the Court denied its filing.
                      "Even if construed as a motion for leave to file an amicus curiae brief, the courtis not
                      persuaded that filing this submission is warranted. Although courts havein rare
                      instances exercised their discretion to permit third−party submissionsin criminal
                      cases, neither the Federal Rules of Criminal Procedure nor theLocal Criminal Rules
                      contemplate the filing of amicus curiae briefs. At thistime, the court does not find it
                      necessary to depart from the ordinaryprocedural course by permitting this filing".
                      Signed by Judge Tanya S. Chutkan on 10/31/2023. (zhsj) (Entered: 11/03/2023)
   10/31/2023   132   LEAVE TO FILE DENIED− Plaintiff's Demand for Default Judgments in Third Party
                      Joinder Under FRCP, Rule 18(a) and (b) as to DONALD J. TRUMP This document is
                      unavailable as the Court denied its filing. "Even if construed as a motion for leave to
                      file an amicus curiae brief, the court is not persuaded that filing this submission is
                      warranted. Although courts have in rare instances exercised their discretion to permit
                      third−party submissions in criminal cases,neither the Federal Rules of Criminal
                      Procedure northe Local Criminal Rules contemplate the filing ofamicus curiae briefs.
                      At this time, the court does notfind it necessary to depart from the ordinaryprocedural
                      course by permitting this filing". Signed by Judge Tanya S. Chutkan on 10/31/2023.
                      (zhsj) (Entered: 11/03/2023)
   10/31/2023   133   LEAVE TO FILE DENIED− Motion to Withdraw New Motion to Intervene − New
                      Fresh Most Recent Evidence Relate 6/4/2009 & 11/4/2008 Set June Date Kill Reddie
                      as to DONALD J. TRUMP This document is unavailable as the Court denied its
                      filing. "Even if construed as a motion for leaveto file an amicus curiae brief, the court
                      isnot persuaded that filing this submissionis warranted. Although courts have inrare
                      instances exercised their discretionto permit third−party submissions incriminal cases,
                      neither the Federal Rulesof Criminal Procedure nor the LocalCriminal Rules
                      contemplate the filing ofamicus curiae briefs. At this time, thecourt does not find it
                      necessary to departfrom the ordinary procedural course bypermitting this filing".
                      Signed by Judge Tanya S. Chutkan on 10/31/2023. (zhsj) (Entered: 11/03/2023)
   10/31/2023   134   LEAVE TO FILE DENIED− Motion of Former Officials in Five Republican
                      Administrations, Et Al for Leave to File an Amici Curiae Brief in Opposition to
                      Defendant's Motion to Dismiss Indictment Based on Presidential Immunity as to
                      DONALD J. TRUMP This document is unavailable as the Court denied its filing.
                      "Although courts have in rare instancesexercised their discretion to permit
                      third−partysubmissions in criminal cases, neither theFederal Rules of Criminal


                                                                                                                  22
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 23 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 23 of 78


                      Procedure nor theLocal Criminal Rules contemplate the filing ofamicus curiae briefs.
                      At this time, the courtdoes not find it necessary to depart from theordinary procedural
                      course by permitting thisfiling". Signed by Judge Tanya S. Chutkan on 10/31/2023.
                      (zhsj) (Entered: 11/03/2023)
   10/31/2023   135   LEAVE TO FILE DENIED− Pro Se Amicus Curiae re: Defendant's Motion to
                      Dismiss Indictment Based on Presidential Immunity as to DONALD J. TRUMP. This
                      document is unavailable as the Court denied its filing. "Even if construed as a motion
                      for leave to file an amicus curiae brief, the court is not persuaded that filing this
                      submission is warranted. Although courts have in rare instances exercised their
                      discretion to permit third partysubmissions in criminal cases, neither the Federal
                      Rules of Criminal Procedure nor the Local CriminalRules contemplate the filing of
                      amicus curiae briefs. At this time, the court does not find it necessary todepart from
                      the ordinary procedural course by permitting this filing". Signed by Judge Tanya S.
                      Chutkan on 10/31/2023. (zhsj) Modified on 11/3/2023 (zhsj). (Entered: 11/03/2023)
   11/01/2023   126   OPINION and ORDER as to DONALD J. TRUMP: Granting the government's
                      Classified Ex Parte, In Camera, and Under Seal Motion for a Protective Order
                      Pursuant to Section 4 of the Classified Information Procedures Act and Rule 16(d)(1)
                      of the Federal Rules of Criminal Procedure; and denying Defendant's Motion for
                      Access to CIPA § 4 Filing, ECF No. 101. See Opinion and Order for details. Signed
                      by Judge Tanya S. Chutkan on 11/1/2023. (zjd) (Entered: 11/01/2023)
   11/01/2023   127   REPLY in Support by DONALD J. TRUMP re 99 MOTION for Discovery
                      (PRE−TRIAL RULE 17(c) SUBPOENAS) (Lauro, John) (Entered: 11/01/2023)
   11/01/2023   128   MOTION to Stay Case Pending Immunity Determination by DONALD J. TRUMP.
                      (Lauro, John) (Entered: 11/01/2023)
   11/01/2023   129   MOTION for Extension of Time to File Motions for Rule 17(c) Subpoenas and
                      Motions to Compel by DONALD J. TRUMP. (Lauro, John) (Entered: 11/01/2023)
   11/02/2023         MINUTE ORDER as to DONALD J. TRUMP: It is hereby ORDERED that the
                      government shall file any opposition to Defendant's 129 Motion for Extension of
                      Time by November 4, 2023; and that Defendant shall file any reply in support of that
                      Motion by November 6, 2023. Signed by Judge Tanya S. Chutkan on 11/2/2023. (zjd)
                      (Entered: 11/02/2023)
   11/02/2023   130   ORDER as to DONALD J. TRUMP: Granting the government's 97 Motion for Fair
                      and Protective Jury Procedures. See Order for details. Signed by Judge Tanya S.
                      Chutkan on 11/2/2023. (zjd) (Entered: 11/02/2023)
   11/03/2023   136   MOTION for Leave to File Oversized Brief by USA as to DONALD J. TRUMP.
                      (Windom, Thomas) (Entered: 11/03/2023)
   11/03/2023         MINUTE ORDER as to DONALD J. TRUMP: It is hereby ORDERED that
                      Defendant shall file any opposition to the government's 136 Motion for Leave to File
                      Oversized Brief by 7:00 PM on November 4, 2023. This will allow the court to rule
                      on the Motion in advance of the November 6, 2023 deadline for the brief in question.
                      Signed by Judge Tanya S. Chutkan on 11/3/2023. (zjd) (Entered: 11/03/2023)
   11/03/2023   137   Memorandum in Opposition by USA as to DONALD J. TRUMP re 129 Motion for
                      Extension of Time to File Pretrial Motions Related to Discovery and Subpoenas
                      (Windom, Thomas) (Entered: 11/03/2023)
   11/04/2023   138

                                                                                                                23
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 24 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 24 of 78


                      RESPONSE by DONALD J. TRUMP re 136 MOTION for Leave to File Oversized
                      Brief (Lauro, John) (Entered: 11/04/2023)
   11/05/2023         MINUTE ORDER as to DONALD J. TRUMP: The government's 136 Motion for
                      Leave to File Oversized Brief is hereby GRANTED. The government may submit a
                      combined opposition brief to Defendant's 113 Motion to Dismiss Based on
                      Constitutional Grounds and 114 Motion to Dismiss Based on Statutory Grounds. The
                      brief may not exceed 90 pages in total. The discussion of each Motion therein shall
                      not exceed 45 pages. Signed by Judge Tanya S. Chutkan on 11/5/2023. (zjd) (Entered:
                      11/05/2023)
   11/06/2023   139   Memorandum in Opposition by USA as to DONALD J. TRUMP re 113 Motion to
                      Dismiss Case, 114 Motion to Dismiss Case (Pearce, James) (Entered: 11/06/2023)
   11/06/2023   140   Memorandum in Opposition by USA as to DONALD J. TRUMP re 115 Motion to
                      Strike (Gaston, Molly) (Entered: 11/06/2023)
   11/06/2023   141   Memorandum in Opposition by USA as to DONALD J. TRUMP re 116 Motion to
                      Dismiss Case for Selective and Vindictive Prosecution (Windom, Thomas) (Entered:
                      11/06/2023)
   11/06/2023   142   Memorandum in Opposition by USA as to DONALD J. TRUMP re 128 Motion to
                      Stay (Gaston, Molly) (Entered: 11/06/2023)
   11/06/2023   143   NOTICE OF ATTORNEY APPEARANCE John M. Pellettieri appearing for USA.
                      (Pellettieri, John) (Entered: 11/06/2023)
   11/06/2023   144   REPLY in Support by DONALD J. TRUMP re 129 MOTION for Extension of Time
                      to File Motions for Rule 17(c) Subpoenas and Motions to Compel (Lauro, John)
                      (Entered: 11/06/2023)
   11/07/2023   146   OPINION and ORDER as to DONALD J. TRUMP: granting in part and denying in
                      part Defendant's 129 Motion for Extension of Time to File Pretrial Motions Related to
                      Discovery and Subpoenas. Motions to compel due November 27, 2023; oppositions
                      due December 11, 2023; replies due December 18, 2023. Rule 17(c) motions due
                      December 13, 2023; oppositions due December 27, 2023; replies due January 3, 2024.
                      See Opinion and Order for details. Signed by Judge Tanya S. Chutkan on 11/7/2023.
                      (zjd) (Entered: 11/07/2023)
   11/08/2023   147   OPINION and ORDER as to DONALD J. TRUMP: Granting in part and denying in
                      part the government's Motion for Formal Pretrial Notice of the Defendant's Intent to
                      Rely on Advice−of−Counsel Defense, ECF No. 98 . See Opinion and Order for
                      details. Signed by Judge Tanya S. Chutkan on 11/8/2023. (zjd) (Entered: 11/08/2023)
   11/08/2023   148   ORDER as to DONALD J. TRUMP: By November 22, 2023, the government shall
                      submit a classified brief responding to the objection set forth in Defendant's classified
                      CIPA § 5 submission. See Order for details. Signed by Judge Tanya S. Chutkan on
                      11/8/2023. (zjd) (Entered: 11/08/2023)
   11/09/2023   149   NOTICE of Filing by USA as to DONALD J. TRUMP (Windom, Thomas) (Entered:
                      11/09/2023)
   11/09/2023   153   LEAVE TO FILE DENIED−Motion for Leave to File Amicus as to DONALD J.
                      TRUMP. This document is unavailable as the Court denied its filing. "Although
                      courts have in rare instances exercised their discretion to permit third−party
                      submissions in criminalcases, neither the Federal Rules of Criminal Procedure nor the


                                                                                                                  24
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 25 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 25 of 78


                      Local Criminal Rules contemplate the filing ofamicus curiae briefs. At this time, the
                      court does not find it necessary to depart from the ordinary proceduralcourse by
                      permitting this filing". Signed by Judge Tanya S. Chutkan on 11/9/2023. (zhsj)
                      (Entered: 11/14/2023)
   11/09/2023   154   LEAVE TO FILE DENIED−Notice of Appeal as to DONALD J. TRUMP This
                      document is unavailable as the Court denied its filing. "Even assuming a third party
                      could file a notice of appeal in a criminal cases which the Federal Rules of Criminal
                      Procedure and Local Criminal Rules do not contemplate, this filing does not comply
                      with Rule 3(c) of the Circuit Rules of the U.S. Court of Appeals for the District of
                      Columbia Circuit". Signed by Judge Tanya S. Chutkan on 11/9/2023. (zhsj) (Entered:
                      11/14/2023)
   11/09/2023   155   LEAVE TO FILE DENIED−Proof of Service/Notice of Filing as to DONALD J.
                      TRUMP This document is unavailable as the Court denied its filing. "Even if
                      construed as a motion for leave to file an amicus curiae brief, the court is
                      notpersuaded that filing this submission is warranted. Although courts have in
                      rareinstances exercised their discretion to permit third−party submissions in
                      criminalcases, neither the Federal Rules of Criminal Procedure nor the Local Criminal
                      Rulescontemplate the filing of amicus curiae briefs. At this time, the court does not
                      find itnecessary to depart from the ordinary procedural course by permitting this
                      filing". Signed by Judge Tanya S. Chutkan on 9/11/2023. (zhsj) (Entered: 11/14/2023)
   11/12/2023   150   MOTION for Extension of Time to File Response/Reply as to 116 MOTION to
                      Dismiss Case for Selective and Vindictive Prosecution, 128 MOTION to Stay Case
                      Pending Immunity Determination, 115 MOTION to Strike Inflammatory Allegations
                      From the Indictment, 113 MOTION to Dismiss Case Based on Constitutional
                      Grounds, 114 MOTION to Dismiss Case Based on Statutory Grounds by DONALD
                      J. TRUMP. (Lauro, John) (Entered: 11/12/2023)
   11/13/2023   151   Memorandum in Opposition by USA as to DONALD J. TRUMP re 150 Motion for
                      Extension of Time to File Response/Reply, (Gaston, Molly) (Entered: 11/13/2023)
   11/13/2023   152   ORDER as to DONALD J. TRUMP: Granting in part and denying in part Defendant's
                      150 Motion for Extension of Time to File Reply Briefs. Defendant may file any Reply
                      in support of his motions to dismiss based on 113 constitutional, 114 statutory, and
                      116 selective prosecution grounds by November 22, 2023; and Defendant may file
                      any Reply in support of his pending 115 Motion to Strike and 128 Motion to Stay by
                      November 15, 2023. Signed by Judge Tanya S. Chutkan on 11/13/2023. (zjd)
                      (Entered: 11/13/2023)
   11/15/2023   156   REPLY in Support by DONALD J. TRUMP re 115 MOTION to Strike Inflammatory
                      Allegations From the Indictment (Lauro, John) (Entered: 11/15/2023)
   11/15/2023   157   REPLY in Support by DONALD J. TRUMP re 128 MOTION to Stay Case Pending
                      Immunity Determination (Lauro, John) (Entered: 11/15/2023)
   11/17/2023   158   OPINION and ORDER as to DONALD J. TRUMP: Denying Defendant's 115 Motion
                      to Strike Inflammatory Allegations From the Indictment. See Opinion and Order for
                      details. Signed by Judge Tanya S. Chutkan on 11/17/2023. (zjd) (Entered:
                      11/17/2023)
   11/21/2023   159   Unopposed MOTION for Extension of Time to File Response/Reply to the Special
                      Counsel's Classified CIPA Sec. 5 Motion to Strike by DONALD J. TRUMP.
                      (Blanche, Todd) (Entered: 11/21/2023)


                                                                                                              25
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 26 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 26 of 78


   11/21/2023         MINUTE ORDER as to DONALD J. TRUMP: Defendant's unopposed 159 Motion
                      for Extension of Time to File Opposition to the Special Counsel's Classified CIPA
                      Sec. 5 Motion to Strike is hereby GRANTED. Defendant may file any opposition to
                      the government's Motion to Strike by November 27, 2023. Signed by Judge Tanya S.
                      Chutkan on 11/21/2023. (zjd) (Entered: 11/21/2023)
   11/22/2023   160   NOTICE of Filing by USA as to DONALD J. TRUMP (Windom, Thomas) (Entered:
                      11/22/2023)
   11/22/2023   161   REPLY in Support by DONALD J. TRUMP re 116 MOTION to Dismiss Case for
                      Selective and Vindictive Prosecution (Attachments: # 1 Exhibit 1, # 2 Exhibit
                      2)(Blanche, Todd) (Entered: 11/22/2023)
   11/22/2023   162   REPLY in Support by DONALD J. TRUMP re 113 MOTION to Dismiss Case Based
                      on Constitutional Grounds (Lauro, John) (Entered: 11/22/2023)
   11/22/2023   163   REPLY in Support by DONALD J. TRUMP re 114 MOTION to Dismiss Case Based
                      on Statutory Grounds (Lauro, John) (Entered: 11/22/2023)
   11/22/2023   164   LEAVE TO FILE DENIED− Motion for Leave to File Amicus as to DONALD J.
                      TRUMP This document is unavailable as the Court denied its filing. "Although courts
                      have in rare instances exercised their discretion to permit third−party submissions in
                      criminal cases, neither the Federal Rules of Criminal Procedure nor the Local
                      Criminal Rules contemplate the filing of amicus curiae briefs. At this time, the court
                      does not find it necessary to depart from the ordinary procedural course by permitting
                      this filing". Signed by Judge Tanya S. Chutkan on 11/22/2023. (zhsj) Modified on
                      11/27/2023 (zhsj). (Entered: 11/27/2023)
   11/27/2023   165   OPINION and ORDER as to DONALD J. TRUMP: Denying Defendant's 99 Motion
                      for Pretrial Rule 17(c) Subpoenas. See Opinion and Order for details. Signed by Judge
                      Tanya S. Chutkan on 11/27/2023. (zjd) (Entered: 11/27/2023)
   11/27/2023   166   MOTION for Leave to File Under Seal Unredacted Motion and Exhibits by
                      DONALD J. TRUMP. (Attachments: # 1 PRESIDENT DONALD J. TRUMPS
                      MOTION FOR AN ORDER REGARDING THE SCOPE OF THE PROSECUTION
                      TEAM (REDACTED), # 2 Exhibit A, # 3 Exhibit B (redacted), # 4 Exhibit C
                      (redacted), # 5 Exhibit D, # 6 Exhibit E (redacted), # 7 Exhibit F (redacted), # 8
                      Exhibit G (redacted), # 9 Exhibit H, # 10 Exhibit I, # 11 Exhibit J, # 12 Exhibit K, #
                      13 Exhibit L, # 14 Exhibit M, # 15 Exhibit N, # 16 Exhibit O)(Blanche, Todd)
                      (Entered: 11/27/2023)
   11/27/2023   167   MOTION to Compel Discovery by DONALD J. TRUMP. (Attachments: # 1 Exhibit
                      A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                      Exhibit G, # 8 Exhibit H, # 9 Exhibit I)(Blanche, Todd) (Entered: 11/27/2023)
   11/28/2023         MINUTE ORDER as to DONALD J. TRUMP: Defendant's 166 Motion for Leave to
                      File Under Seal is hereby GRANTED. The proposed filing contains Sensitive
                      Materials, which the court has already determined warrant sealing. See Protective
                      Order, ECF No. 28 . Defendant shall file under seal an unredacted copy of his Motion
                      for an Order Regarding the Scope of the Prosecution Team, and shall publicly file a
                      redacted copy of that Motion, by November 29, 2023. The court reminds Defendant
                      that all motions must indicate whether they are opposed. Going forward, if any party
                      seeks to make a filing under seal, the party shall file a sealed motion for leave to file
                      under seal that attaches (1) an unredacted copy of the filing to be docketed under seal,
                      and (2) a redacted copy of the filing that may be publicly docketed. If the court


                                                                                                                  26
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 27 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 27 of 78


                      decides to grant such sealed motions for leave to file under seal, it will then direct the
                      Clerk of the Court to docket those attached filings under seal and publicly,
                      respectively. See, e.g., ECF No. 47 (Government's sealed motion for leave to file
                      under seal); ECF No. 55 (court order granting motion and directing Clerk to docket
                      filings appropriately); see also Protective Order at 4; Local R. Crim. P. 49(f)(6)(i).
                      Filings that do not comply with those procedures may be stricken. It is further
                      ORDERED that the Government shall file any opposition to Defendant's Motion for
                      an Order Regarding the Scope of the Prosecution Team by December 9, 2023; and
                      Defendant shall file any Reply in support of that Motion by December 14, 2023. In
                      addition, the Government shall file any Opposition to Defendant's 167 Motion to
                      Compel Discovery by December 11, 2023; and Defendant shall file any Reply in
                      support of that Motion by December 18, 2023. Signed by Judge Tanya S. Chutkan on
                      11/28/2023. (zjd) (Entered: 11/28/2023)
   11/28/2023   168   NOTICE Pursuant to CIPA Section 5 by DONALD J. TRUMP (Blanche, Todd)
                      (Entered: 11/28/2023)
   11/29/2023   169   REDACTED DOCUMENT by DONALD J. TRUMP of Motion for an Order
                      Regarding the Scope of the Prosecution Team (Attachments: # 1 Exhibit A, # 2
                      Exhibit B (redacted), # 3 Exhibit C (redacted), # 4 Exhibit D, # 5 Exhibit E (redacted),
                      # 6 Exhibit F (redacted), # 7 Exhibit G (redacted), # 8 Exhibit H, # 9 Exhibit I, # 10
                      Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15
                      Exhibit O)(Blanche, Todd) (Entered: 11/29/2023)
   12/01/2023   171   MEMORANDUM OPINION as to DONALD J. TRUMP re: Defendant's 74 Motion
                      to Dismiss Based on Presidential Immunity, and Defendant's 113 Motion to Dismiss
                      Based on Constitutional Grounds. Signed by Judge Tanya S. Chutkan on 12/1/2023.
                      (zjd) (Entered: 12/01/2023)
   12/01/2023   172   ORDER as to DONALD J. TRUMP: Denying Defendant's 74 Motion to Dismiss
                      Based on Presidential Immunity, and denying Defendant's 113 Motion to Dismiss
                      Based on Constitutional Grounds. Signed by Judge Tanya S. Chutkan on 12/1/2023.
                      (zjd) (Entered: 12/01/2023)
   12/01/2023         MINUTE ORDER as to DONALD J. TRUMP: In light of the court's 172 Order
                      denying Defendant's 74 Motion to Dismiss Based on Presidential Immunity;
                      Defendant's 128 Motion to Stay Case Pending Immunity Determination is hereby
                      DENIED as moot. Signed by Judge Tanya S. Chutkan on 12/1/2023. (zjd) (Entered:
                      12/01/2023)
   12/04/2023   173   NOTICE of Filing by USA as to DONALD J. TRUMP (Windom, Thomas) (Entered:
                      12/04/2023)
   12/05/2023         MINUTE ORDER as to DONALD J. TRUMP: The Government's unopposed 174
                      Sealed Motion for Leave to File Unredacted Notice Under Seal and for Entry of
                      Redacted Notice on Public Docket is hereby GRANTED. The proposed filing
                      contains Sensitive Materials, which the court has already determined warrant sealing.
                      See Protective Order, ECF No. 28 . The Clerk of the Court is directed to file under
                      seal the unredacted copy of the Government's Notice (ECF No. 174−1), and to file on
                      the public docket the redacted copy of the Government's Notice (ECF No. 174−2).
                      Signed by Judge Tanya S. Chutkan on 12/5/2023. (zjd) (Entered: 12/05/2023)
   12/05/2023   176   NOTICE Pursuant to Federal Rule of Evidence 404(b) by USA as to DONALD J.
                      TRUMP. (zhsj) (Entered: 12/05/2023)


                                                                                                                   27
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 28 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 28 of 78


   12/07/2023   177   NOTICE OF APPEAL (Interlocutory) by DONALD J. TRUMP re 172 Order on
                      Motion to Dismiss Case, 171 Memorandum Opinion. Filing fee $ 605, receipt number
                      ADCDC−10543486. Fee Status: Fee Paid. Parties have been notified. (Lauro, John)
                      (Entered: 12/07/2023)
   12/07/2023   178   MOTION for Order Regarding Automatic Stay of Proceedings Pending Appeal re 177
                      Notice of Appeal − Interlocutory by DONALD J. TRUMP. (Blanche, Todd) (Entered:
                      12/07/2023)




                                                                                                         28
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 29 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 29 of 78



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

   UNITED STATES OF AMERICA

      v.                                              Case No. 1:23-cr-00257-TSC

   DONALD J. TRUMP,

                  Defendant.


                                   NOTICE OF APPEAL
       Defendant President Donald J. Trump hereby provides notice that he appeals to the U.S.

Court of Appeals for the District of Columbia Circuit from the Memorandum Opinion and Order

of the District Court dated December 1, 2023, Docs. 171, 172.



 Dated: December 7, 2023                           Respectfully submitted,


                                                   /s/John F. Lauro
 Todd Blanche, Esq. (PHV)                          John F. Lauro, Esq.
 ToddBlanche@blanchelaw.com                        D.C. Bar No. 392830
 Emil Bove, Esq. (PHV)                             jlauro@laurosinger.com
 Emil.Bove@blanchelaw.com                          Gregory M. Singer, Esq. (PHV)
 BLANCHE LAW PLLC                                  gsinger@laurosinger.com
 99 Wall St., Suite 4460                           Filzah I. Pavalon, Esq. (PHV)
 New York, NY 10005                                fpavalon@laurosinger.com
 (212) 716-1250                                    Lauro & Singer
                                                   400 N. Tampa St., 15th Floor
                                                   Tampa, FL 33602
                                                   (813) 222-8990
                                                   Counsel for President Trump




                                               1

                                                                                                29
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 30 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 30 of 78



                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

        v.
                                                          Criminal Action No. 23-257 (TSC)
 DONALD J. TRUMP,

                Defendant.


                                         ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, ECF No. 171,

Defendant’s Motion to Dismiss Based on Presidential Immunity, ECF No. 74, is hereby

DENIED; and Defendant’s Motion to Dismiss Based on Constitutional Grounds, ECF No. 113,

is hereby DENIED.



Date: December 1, 2023

                                              Tanya S. Chutkan
                                              TANYA S. CHUTKAN
                                              United States District Judge




                                        Page 1 of 1


                                                                                             30
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 31 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 31 of 78



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA,

            v.
                                                                Criminal Action No. 23-257 (TSC)
    DONALD J. TRUMP,

                   Defendant.


                                   MEMORANDUM OPINION

          The United States has charged former President Donald J. Trump with four counts of

criminal conduct that he allegedly committed during the waning days of his Presidency. See

Indictment, ECF No. 1. He has moved to dismiss the charges against him based on Presidential

immunity, ECF No. 74 (“Immunity Motion”), and on constitutional grounds, ECF No. 113

(“Constitutional Motion”). 1 For the reasons set forth below, the court will DENY both motions.

                                      I.      BACKGROUND

          At the motion to dismiss stage, the court assumes the truth of the Indictment’s

allegations. See, e.g., United States v. Weeks, 636 F. Supp. 3d 117, 120 (D.D.C. 2022).

Defendant contends that the charges in the Indictment are based on his “public statements and

tweets about the federal election and certification,” “communications with the U.S. Department

of Justice about investigating elections crimes and possibly appointing a new Acting Attorney



1
    Defendant has also moved to dismiss based on statutory grounds, ECF No. 114, and for
    selective and vindictive prosecution, ECF No. 116. The court will address those motions
    separately. The Supreme Court has “repeatedly . . . stressed the importance of resolving
    immunity questions at the earliest possible stage in litigation.” Hunter v. Bryant, 502 U.S. 224,
    227 (1991) (citations omitted). The court therefore rules first on the Immunity Motion and the
    Constitutional Motion—in which Defendant asserts “constitutional immunity from double
    jeopardy,” United States v. Scott, 464 F.2d 832, 833 (D.C. Cir. 1972).

                                             Page 1 of 48


                                                                                                        31
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 32 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 32 of 78



General,” “communications with state officials about the federal election and the exercise of

their official duties with respect to the election,” “communications with the Vice President and

Members of Congress about the exercise of their official duties in the election-certification

proceedings,” and “organizing slates of electors as part of the attempt to convince legislators not

to certify the election against defendant.” Immunity Motion at 3–8 (formatting modified).

Those generalized descriptions fail to properly portray the conduct with which he has been

charged. Accordingly, the court will briefly review the central allegations as set forth in the

Indictment.

       Defendant “was the forty-fifth President of the United States and a candidate for re-

election in 2020.” Indictment ¶ 1. “Despite having lost” that election, he “was determined to

remain in power,” so “for more than two months following election day on November 3, 2020,

the Defendant spread lies that there had been outcome-determinative fraud in the election and

that he had actually won.” Id. ¶ 2. He “knew that [those claims] were false,” but “repeatedly

and widely disseminated them anyway—to make his knowingly false claims appear legitimate,

create an intense national atmosphere of mistrust and anger, and erode public faith in the

administration of the election.” Id.; see id. ¶ 12 (listing six such claims). “In fact, the Defendant

was notified repeatedly that his claims were untrue—often by the people on whom he relied for

candid advice on important matters, and who were best positioned to know the facts and he

deliberately disregarded the truth.” Id. ¶ 11. Those people included the Vice President, “senior

leaders of the Justice Department,” the Director of National Intelligence, the Department of

Homeland Security’s Cybersecurity and Infrastructure Security Agency, “Senior White House

attorneys,” “Senior staffers on the Defendant’s 2020 re-election campaign,” state legislators and

officials, and state and federal judges. Id.



                                               Page 2 of 48


                                                                                                        32
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 33 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 33 of 78



           “Defendant also pursued unlawful means of discounting legitimate votes and subverting

the election results.” Id. ¶ 4. Specifically, he “targeted a bedrock function of the United States

federal government: the nation’s process of collecting, counting, and certifying the results of the

presidential election.” Id. The Indictment describes that process:

           The Constitution provided that individuals called electors select the president, and
           that each state determine for itself how to appoint the electors apportioned to it.
           Through state laws, each of the fifty states and the District of Columbia chose to
           select their electors based on the popular vote in the state. After election day, the
           [Electoral Count Act (“ECA”)] required each state to formally determine—or
           ‘ascertain’—the electors who would represent the state’s voters by casting electoral
           votes on behalf of the candidate who had won the popular vote, and required the
           executive of each state to certify to the federal government the identities of those
           electors. Then, on a date set by the ECA, each state’s ascertained electors were
           required to meet and collect the results of the presidential election—that is, to cast
           electoral votes based on their state’s popular vote, and to send their electoral votes,
           along with the state executive’s certification that they were the state’s legitimate
           electors, to the United States Congress to be counted and certified in an official
           proceeding. Finally, the Constitution and ECA required that on the sixth of January
           following election day, the Congress meet in a Joint Session for a certification
           proceeding, presided over by the Vice President as President of the Senate, to count
           the electoral votes, resolve any objections, and announce the result—thus certifying
           the winner of the presidential election as president-elect.

Id. ¶ 9.

           Defendant, along with at least six co-conspirators, id. ¶ 8, undertook efforts “to impair,

obstruct, and defeat [that process] through dishonesty, fraud, and deceit,” id. ¶ 10. Those efforts

took five alleged forms:

           First, they “used knowingly false claims of election fraud to get state legislators and

election officials to subvert the legitimate election results and change electoral votes for the

Defendant’s opponent, Joseph R. Biden, Jr., to electoral votes for the Defendant.” Id. ¶ 10(a).

“That is, on the pretext of baseless fraud claims, the Defendant pushed officials in certain states

to ignore the popular vote; disenfranchise millions of voters; dismiss legitimate electors; and


                                               Page 3 of 48


                                                                                                        33
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 34 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 34 of 78



ultimately, cause the ascertainment of and voting by illegitimate electors in favor of the

Defendant.” Id.; see id. ¶¶ 13–52.

       Second, they “organized fraudulent slates of electors in seven targeted states (Arizona,

Georgia, Michigan, Nevada, New Mexico, Pennsylvania, and Wisconsin), attempting to mimic

the procedures that the legitimate electors were supposed to follow under the Constitution and

other federal and state laws.” Id. ¶ 10(b). “This included causing the fraudulent electors to meet

on the day appointed by federal law on which legitimate electors were to gather and cast their

votes; cast fraudulent votes for the Defendant; and sign certificates falsely representing that they

were legitimate electors.” Id.; see id. ¶¶ 53–69. They “then caused these fraudulent electors to

transmit their false certificates to the Vice President and other government officials to be counted

at the certification proceeding on January 6,” 2021. Id. ¶ 10(b); see id. ¶¶ 53–69.

       Third, they “attempted to use the power and authority of the Justice Department to

conduct sham election crime investigations and to send a letter to the targeted states that falsely

claimed that the Justice Department had identified significant concerns that may have impacted

the election outcome; that sought to advance the Defendant’s fraudulent elector plan by using the

Justice Department’s authority to falsely present the fraudulent electors as a valid alternative to

the legitimate electors; and that urged, on behalf of the Justice Department, the targeted states’

legislatures to convene to create the opportunity to choose the fraudulent electors over the

legitimate electors.” Id. ¶ 10(c); see id. ¶¶ 70–85.

       Fourth, “using knowingly false claims of election fraud,” they “attempted to convince the

Vice President to use the Defendant’s fraudulent electors, reject legitimate electoral votes, or

send legitimate electoral votes to state legislatures for review rather than counting them.” Id.

¶ 10(d). “When that failed, on the morning of January 6,” they “repeated knowingly false claims



                                            Page 4 of 48


                                                                                                       34
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 35 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 35 of 78



of election fraud to gathered supporters, falsely told them that the Vice President had the

authority to and might alter the election results, and directed them to the Capitol to obstruct the

certification proceeding and exert pressure on the Vice President to take the fraudulent actions he

had previously refused.” Id.; see id. ¶¶ 86–105.

       Fifth, “on the afternoon of January 6,” once “a large and angry crowd—including many

individuals whom the Defendant had deceived into believing the Vice President could and might

change the election results—violently attacked the Capitol and halted the proceeding,” they

“exploited the disruption by redoubling efforts to levy false claims of election fraud and

convince members of Congress to further delay the certification based on those claims.” Id.

¶ 10(e); see id. ¶¶ 106–124.

       Based on this conduct, the Indictment charges Defendant with four counts: Conspiracy to

Defraud the United States, in violation of 18 U.S.C. § 371, id. ¶ 6; Conspiracy to Obstruct an

Official Proceeding, in violation of 18 U.S.C. § 1512(k), id. ¶ 126; Obstruction of, and Attempt

to Obstruct, an Official Proceeding, in violation of 18 U.S.C. §§ 1512(c)(2), 2, id. ¶ 128; and

Conspiracy Against Rights, in violation of 18 U.S.C. § 241, id. ¶ 130.

                                  II.     LEGAL STANDARD

       A criminal defendant may move to dismiss based on a “defect in the indictment,” such as

a “failure to state an offense.” Fed. R. Crim. P. 12(b)(3)(B)(v). That motion may be based—as

it is here—on constitutional challenges to the prosecution, including the assertion of immunity.

See, e.g., United States v. Stone, 394 F. Supp. 3d 1, 8 (D.D.C. 2019). “Because a court’s use of

its supervisory power to dismiss an indictment directly encroaches upon the fundamental role of

the grand jury, dismissal is granted only in unusual circumstances.” United States v. Fischer, 64

F.4th 329, 334–35 (D.C. Cir. 2023) (formatting modified).



                                            Page 5 of 48


                                                                                                      35
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 36 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 36 of 78



                               III.   EXECUTIVE IMMUNITY

       Defendant contends that the Constitution grants him “absolute immunity from criminal

prosecution for actions performed within the ‘outer perimeter’ of his official responsibility”

while he served as President of the United States, so long as he was not both impeached and

convicted for those actions. Immunity Motion at 8, 11–13 (formatting modified). The

Constitution’s text, structure, and history do not support that contention. No court—or any other

branch of government—has ever accepted it. And this court will not so hold. Whatever

immunities a sitting President may enjoy, the United States has only one Chief Executive at a

time, and that position does not confer a lifelong “get-out-of-jail-free” pass. Former Presidents

enjoy no special conditions on their federal criminal liability. Defendant may be subject to

federal investigation, indictment, prosecution, conviction, and punishment for any criminal acts

undertaken while in office.

A. Text

       In interpreting the Constitution, courts ordinarily “begin with its text,” City of Boerne v.

Flores, 521 U.S. 507, 519 (1997), but there is no provision in the Constitution conferring the

immunity that Defendant claims. The Supreme Court has already noted “the absence of explicit

constitutional . . . guidance” on whether a President possesses any immunity. Nixon v.

Fitzgerald, 457 U.S. 731, 747 (1982) (“Fitzgerald”); see also United States v. Nixon, 418 U.S.

683, 705–06 n.16 (1974) (“Nixon”) (observing “the silence of the Constitution” regarding a

President’s immunity from criminal subpoenas). The Executive Branch has likewise recognized

that “the Constitution provides no explicit immunity from criminal sanctions for any civil

officer,” including the current President. A Sitting President’s Amenability to Indictment and

Criminal Prosecution, 24 U.S. Op. Off. Legal Counsel 222, 2000 WL 33711291, at *9 (2000)

(“OLC Immunity Memo”) (quoting Memorandum for the United States Concerning the Vice
                                           Page 6 of 48


                                                                                                      36
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 37 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 37 of 78



President’s Claim of Constitutional Immunity at 4 (filed Oct. 5, 1973), In re Proceedings of the

Grand Jury Impaneled December 5, 1972: Application of Spiro T. Agnew, Vice President of the

United States (D. Md. 1973) (No. 73-965) (“1973 SG Memo”), available at 27 Hofstra L. Rev.

677, 775–97 (Appendix)) (alterations adopted). There is no “Presidential Immunity” Clause.

       The lack of constitutional text is no accident; the Framers explicitly created immunity for

other officials. The Constitution’s Speech and Debate Clause provides that “Senators and

Representatives . . . shall in all Cases, except Treason, Felony and Breach of the Peace, be

privileged from Arrest during their Attendance at the Session of their respective Houses, and in

going to and returning from the same; and for any Speech or Debate in either House, they shall

not be questioned in any other Place.” U.S. Const. art. I, § 6, cl. 1. And some Founding-Era

state constitutions, like those of Virginia and Delaware, unequivocally protected their Governor

from certain penal sanctions, at least until “he [was] out of office.” Saikrishna Bangalore

Prakash, Prosecuting and Punishing Our Presidents, 100 Tex. L. Rev. 55, 69 (2021) (quoting

Va. Const. of 1776, art. XVI); accord id. at 69–70 (quoting Del. Const. of 1776, art. XXIII). The

U.S. Constitution contains no equivalent protections for the President.

       Nor is the Constitution silent on the question because its drafters and ratifiers assumed

the President would enjoy the immunity Defendant claims. To the contrary, America’s founding

generation envisioned a Chief Executive wholly different from the unaccountable, almost

omnipotent rulers of other nations at that time. In Federalist No. 69—titled “The Real Character

of the Executive”—Alexander Hamilton emphasized the “total dissimilitude between [the

President] and the king of Great Britain,” the latter being “sacred and inviolable” in that “there is

no constitutional tribunal to which he is amenable; no punishment to which he can be subjected.”

The Federalist Papers by Alexander Hamilton, James Madison and John Jay 348–49 (Garry



                                            Page 7 of 48


                                                                                                        37
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 38 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 38 of 78



Wills ed. 1982). 2 Hamilton’s contemporary commentators universally affirmed the crucial

distinction that the President would at some point be subject to criminal process. See Prakash,

100 Tex. L. Rev. at 71–75 (collecting commentary); Response, Brian C. Kalt, Criminal Immunity

and Schrödinger’s President: A Response to Prosecuting and Punishing Our Presidents, 100 Tex.

L. Rev. Online 79, 83–85 (2021) (acknowledging Founding-Era consensus that Presidents would

lack absolute criminal immunity, but noting that most commentary was ambiguous about

whether prosecution could occur during Presidency, or only after). That widely acknowledged

contrast between the President and a king is even more compelling for a former President. The

Constitution’s silence on former Presidents’ criminal immunity thus does not reflect an

understanding that such immunity existed.

          Lacking an express constitutional provision, Defendant hangs his textual argument for

immunity on the Impeachment Judgment Clause, but it cannot bear the weight he places on it.

The Clause provides:

          Judgment in Cases of Impeachment shall not extend further than to removal from
          Office, and disqualification to hold and enjoy any Office of honor, Trust or Profit
          under the United States: but the Party convicted shall nevertheless be liable and
          subject to Indictment, Trial, Judgment and Punishment, according to Law.

U.S. Const. art. I, § 3, cl. 7. From this language, Defendant concludes “that the President may be

charged by indictment only in cases where the President has been impeached and convicted by

trial in the Senate.” Immunity Motion at 11. But Defendant is not President, and reading the

Clause to grant absolute criminal immunity to former Presidents would contravene its plain

meaning, original understanding, and common sense.




2
    All subsequent citations to the Federalist Papers refer to this edition, and the Papers are also
    available online at https://avalon.law.yale.edu/subject_menus/fed.asp.

                                              Page 8 of 48


                                                                                                       38
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 39 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 39 of 78



        The Clause has two parts. The first limits the penalties of impeachment to removal and

disqualification from office. That limit marked a deliberate departure from the prevailing British

tradition, in which an impeachment conviction “might result in a wide array of criminal

penalties, including fines, imprisonment, and even execution.” Whether A Former President

May Be Indicted and Tried for the Same Offenses for Which He Was Impeached by the House

and Acquitted by the Senate, 24 U.S. Op. Off. Legal Counsel 110, 2000 WL 33711290, at *7

(2000) (“OLC Double Jeopardy Memo”) (citing 2 Joseph Story, Commentaries on the

Constitution of the United States 251–2 (1833; reprint 1994) (“Story’s Commentaries”); 2

Richard Wooddeson, A Systematical View of the Laws of England 611–14 (1792); Raoul Berger,

Impeachment: The Constitutional Problems 67 (1974)). The second part of the Clause provides,

however, that impeachment’s limits do not preclude “the Party convicted” from later criminal

prosecution in the courts—i.e., that “further punishment[] . . . would still be available but simply

not to the legislature.” Id. at *10.

        Both parts of the Clause undercut Defendant’s interpretation of it. The first begins by

defining the Clause’s scope: “Judgment in Cases of Impeachment,” indicating that the Clause is

aimed primarily at identifying the permissible penalties associated with impeachment itself. The

Clause’s second part confirms that purview. Rather than stating that “the Party convicted shall

only then be liable” to criminal prosecution, the Clause states that “the Party convicted shall

nevertheless be liable.” U.S. Const. art. I, § 3, cl. 7 (emphasis added). At the Founding, as now,

“nevertheless” meant “notwithstanding that,” and “notwithstanding that” meant “[w]ithout

hindrance or obstruction from.” Neverthele’ss, Samuel Johnson, A Dictionary Of The English

Language (1978) (4th ed. 1773), available at https://perma.cc/ST8E-RCMB; id.,

Notwithsta’nding, available at https://perma.cc/A9ML-QK4Y. In the Impeachment Judgment



                                           Page 9 of 48


                                                                                                       39
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 40 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 40 of 78



Clause, the word “nevertheless” in the second part thus signifies that the first part—constraining

impeachment’s penalties—does not bear on whether the Party would also be subject to criminal

prosecution. See OLC Immunity Memo at *2 (citing Amenability of the President, Vice

President and other Civil Officers to Federal Criminal Prosecution while in Office (1973)

(“1973 OLC Memo”), available at https://perma.cc/DM28-LHT9). As discussed at greater

length below, the Clause’s manifest purpose—and originally understood effect—was therefore

“to permit criminal prosecution in spite of the prior adjudication by the Senate, i.e., to forestall a

double jeopardy argument.” Id. (citation omitted); see infra Section V.B. That is quite different

from establishing impeachment and conviction as a prerequisite to a former President’s criminal

prosecution.

       The historical sources that Defendant cites do not move the needle. First, he quotes

Alexander Hamilton’s twin statements in The Federalist that the “President of the United States

would be liable to be impeached, tried, and, upon conviction of treason, bribery, or other high

crimes or misdemeanors, removed from office; and would afterwards be liable to prosecution

and punishment in the ordinary course of law,” Federalist No. 69 at 348, and that the President

would be “at all times liable to impeachment, trial, dismission from office, incapacity to serve in

any other, and to forfeiture of life and estate by subsequent prosecution in the common course of

law,” Federalist No. 77 at 392. Immunity Motion at 12. But those statements merely echo the

Clause’s clarification that prosecution may follow impeachment; they do not say that those

events must happen in that order. Second, Defendant cites Founding Father James Wilson’s

remark during the ratification debates that the President “is amenable to [the laws] in his private

character as a citizen, and in his public character by impeachment.” J. Elliot, Debates on The

Federal Constitution 480 (2d ed. 1863). But Wilson was describing a President in office, see id.,



                                            Page 10 of 48


                                                                                                         40
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 41 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 41 of 78



and that description is entirely consistent with a former President—having returned to life “as a

citizen”—being subject to criminal prosecution. There is no evidence that any of the

Constitution’s drafters or ratifiers intended or understood former Presidents to be criminally

immune unless they had been impeached and convicted, much less a widespread consensus that

the Impeachment Judgment Clause would have that effect.

       In addition to lacking textual or historical support, Defendant’s interpretation of the

Clause collapses under the application of common sense. For one, his reasoning is based on the

logical fallacy of “denying the antecedent.” See, e.g., New LifeCare Hosps. of N.C. LLC v. Azar,

466 F. Supp. 3d 124, 136 n.7 (D.D.C. 2020). From the statement “if the animal is a cat, it can be

a pet,” it does not follow that “if the animal is not a cat, it cannot be a pet.” Yet Defendant

argues that because a President who is impeached and convicted may be subject to criminal

prosecution, “a President who is not convicted may not be subject to criminal prosecution.”

Immunity Motion at 11. Even assuming that negative implication finds some traction when

applied to sitting Presidents, see, e.g., Trump v. Vance, 140 S. Ct. 2412, 2444–45 (2020) (Alito,

J., dissenting) (discussing that implication); but see OLC Immunity Memo at *2–3 (restating the

1973 OLC Memo’s rejection of the implication); see also infra Section V.B (discussing the

implication for double jeopardy purposes), the logic certainly does not hold for former

Presidents. That is because there is another way, besides impeachment and conviction, for a

President to be removed from office and thus subjected to “the ordinary course of law,”

Federalist No. 69 at 348: As in Defendant’s case, he may be voted out. The President “shall

hold his Office during the Term of four Years.” U.S. Const. art. II, § 1, cl. 1. Without

reelection, the expiration of that term ends a Presidency as surely as impeachment and

conviction. See United States v. Burr, 25 F. Cas. 30, 34 (C.C.D. Va. 1807) (Marshall, Circuit



                                           Page 11 of 48


                                                                                                    41
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 42 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 42 of 78



Justice) (“[T]he president is elected from the mass of the people, and, on the expiration of the

time for which he is elected, returns to the mass of the people again.”). Nothing in the

Impeachment Judgment Clause prevents criminal prosecution thereafter.

       Defendant’s reading of the Impeachment Judgment Clause also proves too much. If the

Clause required impeachment and conviction to precede criminal prosecution, then that

requirement would apply not only to the President, but also to the “Vice President and all civil

Officers of the United States”—who may likewise be impeached. U.S. Const. art. II, § 4. “The

constitutional practice since the Founding, however, has been to prosecute and even imprison

civil officers other than the President . . . prior to their impeachment.” OLC Immunity Memo at

*2 (citing 1973 OLC Memo at 4–7 (collecting sources)). For instance, then-Vice President

Aaron Burr was indicted without being impeached, see 1973 SG Memo at 12, and the same fate

might have befallen Vice President Spiro Agnew had he not resigned and entered a nolo

contendere plea, see United States v. Agnew, 428 F. Supp. 1293, 1293 (D. Md. 1977). Not only

would Defendant’s interpretation contradict that long-settled practice, it would also introduce

significant “complications into criminal proceedings” for all current and former federal officials,

including “threshold constitutional questions” of “whether the suspect is or was an officer of the

United States,” and “whether the offense is one for which he could be impeached.” OLC

Immunity Memo at *3 (citing 1973 OLC Memo at 7). The clash with historical practice and

difficulties in application that would flow from Defendant’s interpretation further confirm that it

cannot be the correct reading of the Clause.

       Finally, Defendant’s interpretation of the Impeachment Judgment Clause would produce

implausibly perverse results. The Constitution permits impeachment and conviction for a limited

category of offenses: “Treason, Bribery, or other high Crimes and Misdemeanors.” U.S. Const.



                                          Page 12 of 48


                                                                                                      42
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 43 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 43 of 78



art. II, § 4. Under Defendant’s reading, if a President commits a crime that does not fall within

that limited category, and so could not be impeached and convicted, the President could never be

prosecuted for that crime. Alternatively, if Congress does not have the opportunity to impeach

or convict a sitting President—perhaps because the crime occurred near the end of their term, or

is covered up until after the President has left office—the former President similarly could not be

prosecuted. Defendant seems to suggest that this scenario, in which the former President would

be utterly unaccountable for their crimes, is simply the price we pay for the separation of powers.

See Reply in Support of Immunity Motion, ECF No. 122, at 6 (quoting Morrison v. Olson, 487

U.S. 654, 710 (1988) (Scalia, J., dissenting) (“While the separation of powers may prevent us

from righting every wrong, it does so in order to ensure that we do not lose liberty.”)). 3 That

cannot be the Clause’s meaning. The constitutional limits on impeachment’s penalties do not

license a President’s criminal impunity.

         In sum, nothing in the Constitution’s text supplies the immunity that Defendant claims.

To be sure, “a specific textual basis has not been considered a prerequisite to the recognition of

immunity,” and so the inquiry is not confined to the express terms of our founding charter.

Fitzgerald, 457 U.S. at 750 n.31. But the lack of supporting constitutional text does mean that a

former President’s federal criminal immunity, if it exists, must arise entirely from “concerns of

public policy, especially as illuminated by our history and the structure of our government.” Id.

at 747–48. Defendant’s resort to those principles fares no better.



3
    Even assuming that former as well as sitting Presidents may be impeached, this hypothetical
    would still produce problematic results. Congress could enable a former President’s criminal
    prosecution by impeaching them after they have left office. But it would raise serious
    separation of powers concerns to restrain the core executive act of prosecuting a private
    citizen—as a former President would then be—until Congress chose to do so. See infra
    Section III.B.2.

                                           Page 13 of 48


                                                                                                      43
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 44 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 44 of 78



B. Structure

       The Supreme Court has cautioned against forms of Presidential liability that “rise to the

level of constitutionally forbidden impairment of the Executive’s ability to perform its

constitutionally mandated functions.” Clinton v. Jones, 520 U.S. 681, 702 (1997). But the

prospect of federal criminal liability for a former President does not violate that structural

principle, either by imposing unacceptable risks of vexatious litigation or by otherwise chilling

the Executive’s decision-making process. Indeed, it is likely that a President who knows that

their actions may one day be held to criminal account will be motivated to take greater care that

the laws are faithfully executed. More fundamentally, federal criminal liability is essential to the

public’s interest in our “historic commitment to the rule of law . . . nowhere more profoundly

manifest than in our view that ‘the twofold aim of criminal justice is that guilt shall not escape or

innocence suffer.’” Nixon, 418 U.S. at 708–09 (quoting Berger v. United States, 295 U.S. 78, 88

(1935)) (formatting modified). The Presidency’s unique responsibilities do not exempt its

former occupants from that commitment.

       In Fitzgerald, the Supreme Court explained the structural analysis for Presidential

immunity. In that case, civil plaintiff A. Ernest Fitzgerald claimed that President Richard Nixon

had been involved in unlawfully firing him from his government job and sought money damages

against the former President. 457 U.S. at 733–41. The five-Justice majority noted it was “settled

law that the separation-of-powers doctrine does not bar every exercise of jurisdiction over the

President of the United States.” Id. at 753–54 (citations omitted). But it instructed that “a court,

before exercising jurisdiction, must balance the constitutional weight of the interest to be served

against the dangers of intrusion on the authority and functions of the Executive Branch.” Id. at

754 (citations omitted). “When judicial action is needed to serve broad public interests—as

when the Court acts, not in derogation of the separation of powers, but to maintain their proper
                                           Page 14 of 48


                                                                                                        44
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 45 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 45 of 78



balance, or to vindicate the public interest in an ongoing criminal prosecution—the exercise of

jurisdiction has been held warranted.” Id. (first citing Youngstown Sheet & Tube Co. v. Sawyer,

343 U.S. 579 (1952), then citing Nixon, 418 U.S. 731). Ultimately, the Court found that a

“merely private suit for damages based on a President’s official acts” did not serve those

interests, and held that a former President could remain immune from such suits. Id. For a

federal criminal prosecution, however, the analysis comes out the other way.

   1. Burdens on the Presidency
       At the outset, it bears noting that it is far less intrusive on the functions of the Executive

Branch to prosecute a former President than a sitting one. The Supreme Court has accepted at

least “the initial premise” that the President “occupies a unique office with powers and

responsibilities so vast and important that the public interest demands that he devote his

undivided time and attention to his public duties.” Clinton, 520 U.S. at 697–98. And the Office

of Legal Counsel has identified three burdens of criminal prosecution that could impede the

performance of that constitutional role:

       (a) the actual imposition of a criminal sentence of incarceration, which would make
       it physically impossible for the President to carry out his duties; (b) the public
       stigma and opprobrium occasioned by the initiation of criminal proceedings, which
       could compromise the President’s ability to fulfill his constitutionally contemplated
       leadership role with respect to foreign and domestic affairs; and (c) the mental and
       physical burdens of assisting in the preparation of a defense for the various stages
       of the criminal proceedings, which might severely hamper the President’s
       performance of his official duties.

OLC Immunity Memo at *19. But none of those burdens would result from the criminal

prosecution of a former President, who is no longer performing official duties. Accordingly, the

separation-of-powers concerns are significantly diminished in this context.

       Fitzgerald nonetheless suggested that the prospect of post-Presidency civil liability might

“distract a President from his public duties, to the detriment of not only the President and his

                                           Page 15 of 48


                                                                                                        45
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 46 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 46 of 78



office but also the Nation that the Presidency was designed to serve.” 457 U.S. at 753. The

Supreme Court highlighted two concerns: (1) the public interest in providing the President “the

maximum ability to deal fearlessly and impartially with the duties of his office,” and (2) the fact

that given the “visibility of his office and the effect of his actions on countless people, the

President would be an easily identifiable target for suits for civil damages.” Id. at 752–53

(quotation omitted). Defendant correspondingly focuses his arguments for immunity on (1) “the

chilling effect personal liability would have on the President’s decision-making,” and (2) the

“potential criminal prosecutions” former Presidents could face from “local, state, or subsequent

federal officials.” Immunity Motion at 9–10. He contends that “[c]ognizance of this personal

vulnerability frequently could distract a President from his public duties, to the detriment of not

only the President and his office but also the Nation that the Presidency was designed to serve.”

Id. at 10 (quoting Fitzgerald, 457 U.S. at 753).

       Those concerns do not carry the same weight in the context of a former President’s

federal criminal prosecution. First, the Supreme Court has largely rejected similar claims of a

“chilling effect” from the possibility of future criminal proceedings. During the Watergate

prosecution, President Nixon argued that if recordings of his conversations were subject to

criminal subpoena, the Presidential decision-making process would be compromised because his

staff would be less candid. Nixon, 418 U.S. at 705–06. The Court disagreed, stating that it

“cannot conclude that advisers will be moved to temper the candor of their remarks by the

infrequent occasions of disclosure because of the possibility that such conversations will be

called for in the context of a criminal prosecution.” Id. at 712. The Court quoted Justice

Cardozo’s unanimous opinion finding that a jury’s decision-making process would not be

meaningfully chilled if jurors’ conduct were later subject to criminal prosecution:



                                            Page 16 of 48


                                                                                                      46
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 47 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 47 of 78



       A juror of integrity and reasonable firmness will not fear to speak his mind if the
       confidences of debate are barred to the ears of mere impertinence of malice. He
       will not expect to be shielded against the disclosure of his conduct in the event that
       there is evidence reflecting upon his honor. The chance that now and then there
       may be found some timid soul who will take counsel of his fears and give way to
       their repressive power is too remote and shadowy to shape the course of justice.

Id. n.20 (quoting Clark v. United States, 289 U.S. 1, 16 (1933)).

       The same reasoning applies here. There is no doubt that “a President must concern

himself with matters likely to arouse the most intense feelings.” Fitzgerald, 457 U.S. at 752

(internal quotation marks omitted). But “[c]riminal conduct is not part of the necessary functions

performed by public officials.” United States v. Isaacs, 493 F.2d 1124, 1144 (7th Cir. 1974). By

definition, the President’s duty to “take Care that the Laws be faithfully executed” does not grant

special latitude to violate them. U.S. Const., art. II, § 3. That is especially true when the

violations require criminal intent, as is the case here, see Opp’n to Immunity Motion, ECF No.

109, at 31–32 (reviewing mens rea requirements for the Indictment’s four counts); cf. Imbler v.

Pachtman, 424 U.S. 409, 429 (1976) (noting that even public officials “cloaked with absolute

civil immunity . . . could be punished criminally” for their “willful acts”). Like his fellow

citizens serving on juries, then, a President “of integrity and reasonable firmness” will not fear to

carry out his lawful decision-making duties—even on hot-button political issues—and “will not

expect to be shielded against the disclosure of his conduct in the event that there is evidence

reflecting upon his honor.” Clark, 289 U.S. at 16. The rationale for immunizing a President’s

controversial decisions from civil liability does not extend to sheltering his criminality.

       Indeed, the possibility of future criminal liability might encourage the kind of sober

reflection that would reinforce rather than defeat important constitutional values. If the specter

of subsequent prosecution encourages a sitting President to reconsider before deciding to act

with criminal intent, that is a benefit, not a defect. “Where an official could be expected to know

                                           Page 17 of 48


                                                                                                        47
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 48 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 48 of 78



that certain conduct would violate statutory or constitutional rights, he should be made to

hesitate.” Harlow v. Fitzgerald, 457 U.S. 800, 819 (1982). Consequently, to the extent that

there are any cognizable “chilling effects” on Presidential decision-making from the prospect of

criminal liability, they raise far lesser concerns than those discussed in the civil context of

Fitzgerald. Every President will face difficult decisions; whether to intentionally commit a

federal crime should not be one of them.

        Second, the possibility of vexatious post-Presidency litigation is much reduced in the

criminal context. Defendant protests that denying him immunity would subject future Presidents

to “prosecution in countless federal, state, and local jurisdictions across the country,” Immunity

Motion at 10, but that is incorrect. To begin, Defendant is only charged with federal crimes in

this case, so any ruling here will be limited to that context and would not extend to state or local

prosecutions—which in any event might run afoul of the Supremacy Clause, see Vance, 140

S. Ct. at 2428 (“The Supremacy Clause prohibits state judges and prosecutors from interfering

with a President’s official duties. . . . Any effort to manipulate a President's policy decisions or to

‘retaliat[e]’ against a President for official acts . . . would thus be an unconstitutional attempt to

‘influence’ a superior sovereign ‘exempt’ from such obstacles.” (citations omitted)). And as

Defendant well knows, see infra Section V.A, a person cannot “be subject for the same offence

to be twice put in jeopardy of life or limb,” U.S. Const., amend. V. Consequently, denying

Defendant immunity here means only that a former President may face one federal prosecution,

in one jurisdiction, for each criminal offense allegedly committed while in office. That

consequence stands in contrast to the civil context, where “the effect of [the President’s] actions

on countless people” could result in untold numbers of private plaintiffs suing for damages based

on any number of Presidential acts. Fitzgerald, 457 U.S. at 753.



                                            Page 18 of 48


                                                                                                          48
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 49 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 49 of 78



       Defendant also warns that if he is not given immunity here, criminal prosecutions will

“bedevil[] every future Presidential administration and usher[] in a new era of political

recrimination and division.” Immunity Motion at 11. But, as the Supreme Court noted when

faced with a similar argument in Clinton, that “predictive judgment finds little support in either

history or the relatively narrow compass of the issues raised in this particular case.” 520 U.S. at

702. As Defendant acknowledges, he is the only former President in United States history to

face criminal charges for acts committed while in office. See Immunity Motion at 15. “If the

past is any indicator, it seems unlikely that a deluge of such litigation will ever engulf the

Presidency.” Clinton, 520 U.S. at 702. Despite Defendant’s doomsaying, he points to no

evidence that his criminal liability in this case will open the gates to a waiting flood of future

federal prosecutions.

       The robust procedural safeguards attendant to federal criminal prosecutions further

reduce the likelihood that former Presidents will be unjustly harassed. Prosecutors themselves

are constitutionally bound to not abuse their office, which is why “courts presume that they have

properly discharged their official duties.” United States v. Armstrong, 517 U.S. 456, 464 (1996)

(quoting United States v. Chem. Found., Inc., 272 U.S. 1, 14–15 (1926)). And a federal

indictment is issued by a grand jury, which is similarly “prohibited from engaging in ‘arbitrary

fishing expeditions’ and initiating investigations ‘out of malice or an intent to harass.’” Vance,

140 S. Ct. at 2428 (quoting United States v. R. Enters., Inc., 498 U.S. 292, 299 (1991)). Even

after indictment, “in the event of such harassment, a [former] President would be entitled to the

protection of federal courts,” which “have the tools to deter and, where necessary, dismiss”

vexatious prosecutions. Id. For instance, if a prosecution is politically motivated, as Defendant

has argued in this case, that alone may warrant dismissal. See Motion to Dismiss Case for



                                            Page 19 of 48


                                                                                                      49
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 50 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 50 of 78



Selective and Vindictive Prosecution, ECF No. 116. And if a meritless prosecution somehow

reached trial, a former President would still have the opportunity to put the government’s proof

to the test. See U.S. Const., art. III, § 2, cl. 3.

        In short, the concerns discussed in the civil context of Fitzgerald find no meaningful

purchase here. A former President accused of committing a crime while in office will be subject

to only one federal prosecution for that offense, which in turn will only result in conviction if the

grand jury finds probable cause and the prosecutor, judge, and all twelve petit jurors agree that

the charges are legitimate and have been proven beyond a reasonable doubt. Throughout that

process, a former President “may avail himself of the same protections available to every other

citizen.” Vance, 140 S. Ct. at 2430. In the rare case when a former President must do so, the

Constitution does not proffer the sledgehammer of absolute immunity where the scalpel of

procedural protections will suffice. See Burr, 25 F. Cas. at 34 (“The guard, furnished to this high

officer [the President], to protect him from being harassed by vexatious and unnecessary

subpoenas, is to be looked for in the conduct of a court after those subpoenas have issued; not in

any circumstance which is to [] precede their being issued.”). The possibility of future harassing

federal criminal prosecution will not cast so “serious” a shadow on the Presidency that its current

occupant cannot fulfill its duties. Clinton, 520 U.S. at 708.

    2. Public interest
        On the other of side of the scale, the public interest in the prosecution of this case carries

grave weight. The Supreme Court has repeatedly underscored its judgment that “the public

interest in fair and accurate judicial proceedings is at its height in the criminal setting.” Vance,

140 S. Ct. at 2424. It has correspondingly refused to permit other concerns, including those

asserted by Presidents, to “prevail over the fundamental demands of due process of law in the

fair administration of criminal justice.” Nixon, 418 U.S. at 713; see United States v. Gillock, 445

                                              Page 20 of 48


                                                                                                         50
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 51 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 51 of 78



U.S. 360, 373 (1980) (concluding that “principles of comity” must yield “where important

federal interests are at stake, as in the enforcement of federal criminal statutes”). Despite their

other vehement disagreements in Fitzgerald, all nine Justices unanimously endorsed that

judgment with respect to former Presidents. Justice Powell’s majority opinion specifically

contrasted the “lesser public interest in actions for civil damages than . . . in criminal

prosecutions.” 457 at 754 n.37. Chief Justice Burger’s concurrence made the same distinction.

Id. at 759–60 (distinguishing immunity “limited to civil damages claims” from “a criminal

prosecution,” as in Burr or Nixon (emphasis in original)). And Justice White’s four-member

dissent stressed that no party had argued “that the President is immune from criminal prosecution

in the courts[,] . . . [n]or would such a claim be credible.” Id. at 780. Fitzgerald was thus

undivided in contemplating that the public interest could require a former President’s criminal

liability.

        Defendant resists that consensus in Fitzgerald by pointing to a single passage in the

majority opinion where, in listing the “formal and informal checks” that could replace civil

liability as a deterrent for Presidential misconduct, the Court did not specifically list criminal

liability. Id. at 757. From that omission, Defendant infers that the Court intended to suggest that

criminal liability would not be available either. Immunity Motion at 13. But the Court’s

unanimous emphasis that it was not immunizing former Presidents from federal criminal liability

squarely refutes that inference. If anything, the omission underscores that civil and criminal

liability are so fundamentally distinct that they cannot be understood as substitutes for one

another. Accordingly, in the parallel context of cases “which have recognized an immunity from

civil suit for state officials,” the Supreme Court has explicitly “presumed the existence of federal




                                            Page 21 of 48


                                                                                                       51
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 52 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 52 of 78



criminal liability as a restraining factor on the conduct of state officials.” Gillock, 445 U.S.

at 372.

          It is no surprise that the Supreme Court has long recognized the special public interest in

criminal law because of its distinctly communal character; that character is reflected in both the

Constitution itself and the legal tradition from which it arose. Unlike defendants in a civil

matter, for example, federal criminal defendants are constitutionally guaranteed “a speedy and

public trial” before a jury drawn from their community. U.S. Const., amend VI; id., art. III, § 2,

cl. 3. And the preeminent 18th-century legal commentator William Blackstone explained the

reason for the community’s special involvement in criminal cases: Whereas civil injuries “are an

infringement or privation of the civil rights which belong to individuals, considered merely as

individuals,” crimes “are a breach and violation of the public rights and duties due to the whole

community, considered as a community.” 4 William Blackstone, Commentaries *5. The

fundamentally public interest in a criminal prosecution explains why it “may proceed without the

consent of the victim and why it is brought in the name of the sovereign rather than the person

immediately injured by the wrong.” OLC Immunity Memo at *22. Put differently, the very

name of this case confirms the public’s particular stake in its adjudication: it is the United States

of America v. Donald J. Trump.

          Congress has also affirmed the special public interests in enforcing the criminal law. In

the Sentencing Reform Act of 1984, it required every federal court to consider certain factors in

imposing sentence, and declared “the need for the sentence imposed”:

          (A) to reflect the seriousness of the offense, to promote respect for the law, and to
          provide just punishment for the offense;

          (B) to afford adequate deterrence to criminal conduct;

          (C) to protect the public from further crimes of the defendant; and

                                             Page 22 of 48


                                                                                                        52
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 53 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 53 of 78



        (D) to provide the defendant with needed educational or vocational training,
        medical care, or other correctional treatment in the most effective manner.

18 U.S.C. § 3553(a)(2); see Pub. L. 98-473, title II, § 212(a)(2) (1984). The public has an

undisputed interest in promoting respect for the law, deterring crime, protecting itself, and

rehabilitating offenders. All of those interests would be thwarted by granting former Presidents

absolute criminal immunity.

        The fact that Congress has spoken by criminalizing the conduct with which Defendant is

charged also highlights the separation of powers principles that counsel in favor of the court

retaining jurisdiction over this case. “When the President takes measures incompatible with the

expressed or implied will of Congress, his power is at its lowest ebb.” Youngstown, 343 U.S. at

637 (Jackson, J., concurring). Congress could have penalized the conduct alleged in this case—

if it chose to penalize it at all—with mere civil liability, perhaps allowing for monetary damages

should a private plaintiff choose to bring suit. Instead, it expressed a far stronger condemnation

by subjecting that conduct to the severe consequences of the criminal law. “Whatever may be

the case with respect to civil liability” for former Presidents, then, “the judicially fashioned

doctrine of official immunity does not reach ‘so far as to immunize criminal conduct proscribed

by an Act of Congress.’” O’Shea v. Littleton, 414 U.S. 488, 503 (1974) (quoting Gravel v.

United States, 408 U.S. 606, 627 (1972)). Indeed, stretching the doctrine so far would also

“imped[e] . . . the primary constitutional duty of the Judicial Branch to do justice in criminal

prosecutions,” Nixon, 418 U.S. at 707, not to mention the current President’s duty to enforce the

criminal law, see U.S. Const., art. II, § 3. Holding a former President absolutely immune would

thus impinge on the functions of all three branches with respect to the criminal law: Congress’s

province to make it, the Executive’s prerogative to enforce it, and the Judiciary’s charge to

apply it.

                                            Page 23 of 48


                                                                                                     53
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 54 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 54 of 78



        Most importantly, a former President’s exposure to federal criminal liability is essential

to fulfilling our constitutional promise of equal justice under the law. “The government of the

United States has been emphatically termed a government of laws, and not of men.” Marbury v.

Madison, 5 U.S. 137, 163 (1803). As the Supreme Court has stated, that principle must govern

citizens and officials alike:

        No officer of the law may set that law at defiance with impunity. All the officers
        of the government, from the highest to the lowest, are creatures of the law, and are
        bound to obey it. It is the only supreme power in our system of government, and
        every man who by accepting office participates in its functions is only the more
        strongly bound to submit to that supremacy, and to observe the limitations which it
        imposes upon the exercise of the authority which it gives.

United States v. Lee, 106 U.S. 196, 220 (1882).

        Perhaps no one understood the compelling public interest in the rule of law better than

our first former President, George Washington. His decision to voluntarily leave office after two

terms marked an extraordinary divergence from nearly every world leader who had preceded

him, ushering in the sacred American tradition of peacefully transitioning Presidential power—a

tradition that stood unbroken until January 6, 2021. In announcing that decision, however,

Washington counseled that the newfound American independence carried with it a responsibility.

“The very idea of the power and the right of the people to establish government presupposes the

duty of every individual to obey the established government.” Washington’s Farewell Address,

S. Doc. No. 106-21, at 13 (2d Sess. 2000), available at https://perma.cc/E5CZ-7NNP. He issued

a sober warning: “All obstructions to the execution of the laws,” including group arrangements

to “counteract” the “regular deliberation and action of the constituted authorities, are destructive

of this fundamental principle.” Id. at 14. In Washington’s view, such obstructions would prove

“fatal” to the Republic, as “cunning, ambitious, and unprincipled men will be enabled to subvert



                                           Page 24 of 48


                                                                                                       54
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 55 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 55 of 78



the power of the people and to usurp for themselves the reins of government, destroying

afterwards the very engines which have lifted them to unjust dominion.” Id.

       In this case, Defendant is charged with attempting to usurp the reins of government as

Washington forewarned: The Government alleges that, with the help of political associates, he

“spread lies that there had been outcome-determinative fraud in the election and that he had

actually won,” and “pursued unlawful means of discounting legitimate votes and subverting the

election results,” all because he “was determined to remain in power.” Indictment ¶¶ 2, 4. In

asserting absolute executive immunity, Defendant asks not for an opportunity to disprove those

allegations, but for a categorical exemption from criminal liability because, in his view, “the

indictment is based solely on President Trump’s official acts.” Immunity Motion at 27–28. That

obstruction to the execution of the laws would betray the public interest. “If one man can be

allowed to determine for himself what is law, every man can. That means first chaos, then

tyranny.” United States v. United Mine Workers of Am., 330 U.S. 258, 312 (1947) (Frankfurter,

J., concurring in the judgment).

       For all these reasons, the constitutional consequences of federal criminal liability differ

sharply from those of the civil liability at issue in Fitzgerald. Federal criminal liability will not

impermissibly chill the decision-making of a dutiful Chief Executive or subject them to endless

post-Presidency litigation. It will, however, uphold the vital constitutional values that Fitzgerald

identified as warranting the exercise of jurisdiction: maintaining the separation of powers and

vindicating “the public interest in an ongoing criminal prosecution.” 457 U.S. at 753–54.

Exempting former Presidents from the ordinary operation of the criminal justice system, on the

other hand, would undermine the foundation of the rule of law that our first former President

described: “Respect for its authority, compliance with its laws, [and] acquiescence in its



                                            Page 25 of 48


                                                                                                        55
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 56 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 56 of 78



measures”—“duties enjoined by the fundamental maxims of true liberty.” Washington’s

Farewell Address at 13. Consequently, the constitutional structure of our government does not

require absolute federal criminal immunity for former Presidents.

C. History

       Nothing in American history justifies the absolute immunity Defendant seeks. As

discussed above, supra Section III.A, there is no evidence that the Founders understood the

Constitution to grant it, and since that time the Supreme Court “has never suggested that the

policy considerations which compel civil immunity for certain governmental officials also place

them beyond the reach of the criminal law.” Imbler, 424 U.S. at 429. Moreover, the notion that

former Presidents cannot face federal criminal charges for acts they took in office is refuted by

the “presuppositions of our political history.” Fitzgerald, 457 U.S. at 745 (quoting Tenney v.

Brandhove, 341 U.S. 367, 376 (1951)).

       Start with the Executive Branch itself. “In the performance of assigned constitutional

duties each branch of the Government must initially interpret the Constitution, and the

interpretation of its powers by any branch is due great respect from the others.” Nixon, 418 U.S.

at 703. The Executive’s legal representatives—the Solicitor General and Office of Legal

Counsel—have expressly and repeatedly concluded that a former President may “be subject to

criminal process . . . after he leaves office or is removed therefrom through the impeachment

process.” OLC Immunity Memo at *12 (citing 1973 OLC Memo and 1973 SG Memo).

Naturally, the Special Counsel’s decision to bring this case also reflects that judgment,

distinguishing the Department of Justice’s position that former Presidents retain civil immunity.

See Brief for the United States as Amicus Curiae at 3 n.1 (filed Mar. 2, 2023), Blassingame v.

Trump, Nos. 22-5069, 22-7030, 22-7031 (D.C. Cir.). Even on its own, the Executive’s



                                          Page 26 of 48


                                                                                                    56
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 57 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 57 of 78



longstanding and unwavering position on this issue weighs against this court unilaterally

blocking a considered prosecution by conferring absolute immunity. 4

          Historical practice also indicates that a President’s actions may later be criminally

prosecuted. In the aftermath of Watergate, for example, President Ford granted former President

Nixon “full, free, and absolute pardon . . . for all offenses against the United States which he,

Richard Nixon, has committed or may have committed or taken part in during” while in office.

Gerald Ford, Presidential Statement at 7–8 (Sept. 8, 1974), available at https://perma.cc/2GNZ-

QQ3D. In so doing, President Ford specifically noted the “serious allegations” that, without a

pardon, would “hang like a sword over our former President’s head” until he could “obtain a fair

trial by jury.” Id. at 3; see id. at 4–5 (expressing concern about Nixon’s rights to a presumption

of innocence and a speedy trial). And former President Nixon formally accepted that “full and

absolute pardon for any charges which might be brought against me for actions taken during the

time I was President of the United States,” calling the pardon a “compassionate act.” Richard

Nixon, Statement by Former President Richard Nixon at 1 (Sept. 8, 1974), available at

https://perma.cc/WV43-6E69. Both Ford’s pardon and Nixon’s acceptance arose from the desire

to prevent the former President’s potential criminal prosecution, and both specifically refer to

that possibility—without which the pardon would have been largely unnecessary. Defendant’s

view of his own immunity thus stands at odds with that of his predecessors in the Oval Office.


4
    Congress, the other political branch, has not spoken directly to this issue. But it has not
    exempted actions taken during the Presidency from the criminal law, and “[u]nder the authority
    of Art. II, § 2,” it “has vested in the Attorney General the power to conduct the criminal
    litigation of the United States Government” and “to appoint subordinate officers to assist him,”
    which he has done “in th[is] particular matter[]” by appointing “a Special Prosecutor.” Nixon,
    418 U.S. at 694. The Government also notes the statements of individual members of
    Congress—including some who voted to acquit Defendant during his impeachment trial—
    anticipating that Defendant could later be criminally prosecuted for the conduct at issue. See
    Opp’n to Immunity Motion at 14–15.

                                             Page 27 of 48


                                                                                                       57
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 58 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 58 of 78



       Granting the immunity Defendant seeks would also break with longstanding legal

precedent that all government officials—even those immune from civil claims—may be held to

criminal account. In Fitzgerald, for instance, the Supreme Court analogized former President

Nixon’s civil immunity to the similar protections provided to judges and prosecutors. 457 U.S.

at 745–48. Unlike most government officials, who only receive “qualified” civil immunity,

prosecutors and judges have absolute civil immunity due to “the especially sensitive duties” of

their office and the public interest in their “liberty to exercise their functions with independence

and without fear of consequences.” Id. at 745–46 (quotation omitted); see, e.g., Imbler, 424 U.S.

at 431 (state prosecutors possess absolute civil immunity for prosecutions); Stump v. Sparkman,

435 U.S. 349, 359–60 (1978) (state judges possess absolute civil immunity for judicial acts). But

notwithstanding their absolute civil immunity, prosecutors and judges are “subject to criminal

prosecutions as are other citizens.” Dennis v. Sparks, 449 U.S. 24, 31 (1980); see Imbler, 424

U.S. at 429. Thus, while in Fitzgerald the “careful analogy to the common law absolute

immunity of judges and prosecutors” demonstrated history’s support for the former President’s

civil immunity, Vance, 140 S. Ct. at 2426, here that same history compels the denial of a former

President’s criminal immunity.

       Against the weight of that history, Defendant argues in essence that because no other

former Presidents have been criminally prosecuted, it would be unconstitutional to start now.

Immunity Motion at 15–16. But while a former President’s prosecution is unprecedented, so too

are the allegations that a President committed the crimes with which Defendant is charged. See

infra Section VI.B. The Supreme Court has never immunized Presidents—much less former

Presidents—from judicial process merely because it was the first time that process had been




                                           Page 28 of 48


                                                                                                       58
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 59 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 59 of 78



necessary. See, e.g., Vance, 140 S. Ct. at 2424–25; Clinton, 520 U.S. at 692; Nixon, 418 U.S. at

703; Burr, 25 F. Cas. at 32. The court will not do so here.

       In any event, Defendant’s reasoning turns the relevant historical analysis on its head. In

Clinton, the President likewise argued that the relative dearth of cases in which “sitting

Presidents ha[d] been defendants in civil litigation involving their actions prior to taking office”

meant that the Constitution afforded him temporary immunity for such claims. 520 U.S. at 692;

see Brief for the Petitioner, 1996 WL 448096, at *17–18, Clinton v. Jones, No. 95-1853 (U.S.).

The Court found instead that the dearth of similar cases meant that there was no “basis of

precedent” for the immunity that President Clinton sought—and in fact showed that there was

little risk of such litigation impeding the Presidency going forward. Clinton, 520 U.S. at 692,

702. In other words, a defendant cannot claim that history supports their immunity by pointing

to the fact that their immunity has never been asserted. Here, as in Clinton, that absence of

precedent negates rather than validates Defendant’s argument that history establishes his

immunity from criminal prosecution.

                                          *       *       *

       For these reasons, the court cannot conclude that our Constitution cloaks former

Presidents with absolute immunity for any federal crimes they committed while in office. Our

nation’s “historic commitment to the rule of law” is “nowhere more profoundly manifest than in

our view that ‘the twofold aim of criminal justice is that guilt shall not escape or innocence

suffer.’” Nixon, 418 U.S. at 708–09 (quoting Berger, 295 U.S. at 88) (formatting modified).

Nothing in the Constitution’s text or allocation of government powers requires exempting former

Presidents from that solemn process. And neither the People who adopted the Constitution nor

those who have safeguarded it across generations have ever understood it to do so. Defendant’s



                                           Page 29 of 48


                                                                                                       59
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 60 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 60 of 78



four-year service as Commander in Chief did not bestow on him the divine right of kings to

evade the criminal accountability that governs his fellow citizens. “No man in this country,” not

even the former President, “is so high that he is above the law.” Lee, 106 U.S. at 220.

          Consistent with its duty to not “decide questions of a constitutional nature unless

absolutely necessary to a decision,” Clinton, 520 U.S. at 690 & n.11 (quoting Burton v. United

States, 196 U.S. 283, 295 (1905)), the court emphasizes the limits of its holding here. It does not

decide whether former Presidents retain absolute criminal immunity from non-federal

prosecutions, or whether sitting Presidents are entitled to greater immunity than former ones.

Similarly, the court expresses no opinion on the additional constitutional questions attendant to

Defendant’s assertion that former Presidents retain absolute criminal immunity for acts “within

the outer perimeter of the President’s official” responsibility. Immunity Motion at 21

(formatting modified). Even if the court were to accept that assertion, it could not grant

Defendant immunity here without resolving several separate and disputed constitutional

questions of first impression, including: whether the President’s duty to “take Care that the Laws

be faithfully executed” includes within its “outer perimeter” at least five different forms of

indicted conduct; 5 whether inquiring into the President’s purpose for undertaking each form of

that allegedly criminal conduct is constitutionally permissible in an immunity analysis, and

whether any Presidential conduct “intertwined” with otherwise constitutionally immune actions



5
    As another court in this district observed in a decision regarding Defendant’s civil immunity,
    “[t]his is not an easy issue. It is one that implicates fundamental norms of separation of powers
    and calls on the court to assess the limits of a President’s functions. And, historical examples
    to serve as guideposts are few.” Thompson v. Trump, 590 F. Supp. 3d 46, 74 (D.D.C. 2022);
    see id. at 81–84 (performing that constitutional analysis). The D.C. Circuit recently affirmed
    that district court’s decision with an extensive analysis of just one form of conduct—“speech
    on matters of public concern.” Blassingame v. Trump, Nos. 22-5069, 22-7030, 22-7031, slip
    op. at 23–42 (D.C. Cir. Dec. 1, 2023).

                                             Page 30 of 48


                                                                                                        60
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 61 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 61 of 78



also receives criminal immunity. See id. at 21–45. Because it concludes that former Presidents

do not possess absolute federal criminal immunity for any acts committed while in office,

however, the court need not reach those additional constitutional issues, and it expresses no

opinion on them.

                                 IV.     FIRST AMENDMENT

       In his Constitutional Motion, Defendant first argues that the Indictment should be

dismissed because it criminalizes his speech and therefore violates the First Amendment. But it

is well established that the First Amendment does not protect speech that is used as an instrument

of a crime, and consequently the Indictment—which charges Defendant with, among other

things, making statements in furtherance of a crime—does not violate Defendant’s First

Amendment rights.

A. The First Amendment and criminal prosecutions

       The First Amendment provides, in relevant part, that “Congress shall make no law . . .

abridging the freedom of speech.” U.S. Const. amend. I. Generally, “the First Amendment

means that government has no power to restrict expression because of its message, its ideas, its

subject matter, or its content.” United States v. Stevens, 559 U.S. 460, 468 (2010) (quoting

Ashcroft v. Am. Civ. Liberties Union, 535 U.S. 564, 573 (2002)). In restricting the government’s

power to control speech, the First Amendment “embodies ‘our profound national commitment to

the free exchange of ideas.’” Ashcroft, 535 U.S. at 573 (citation omitted).

       The right to freedom of speech is “not absolute,” however. Id. It is fundamental First

Amendment jurisprudence that prohibiting and punishing speech “integral to criminal conduct”

does not “raise any Constitutional problem.” Stevens, 559 U.S. at 468–69 (citation omitted);

accord Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 498–502 (1949). “Many long

established” criminal laws permissibly “criminalize speech . . . that is intended to induce or
                                           Page 31 of 48


                                                                                                     61
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 62 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 62 of 78



commence illegal activities,” United States v. Williams, 553 U.S. 285, 298 (2008), such as fraud,

bribery, perjury, extortion, threats, incitement, solicitation, and blackmail, see, e.g., Stevens, 559

U.S. at 468–69 (fraud); Williams, 553 U.S. at 298 (incitement, solicitation); Citizens United v.

Fed. Election Comm’n, 558 U.S. 310, 356 (2010) (bribery); Rice v. Paladin Enters., Inc., 128

F.3d 233, 244 (4th Cir. 1997) (extortion, threats, blackmail, perjury). Prosecutions for

conspiring, directing, and aiding and abetting do not run afoul of the Constitution when those

offenses are “carried out through speech.” Nat’l Org. for Women v. Operation Rescue, 37 F.3d

646, 655–56 (D.C. Cir. 1994) (directing and aiding and abetting); see Williams, 553 U.S. at 298

(conspiring).

B. The Indictment does not violate the First Amendment

       The Indictment alleges that Defendant used specific statements as instruments of the

criminal offenses with which he is charged: conspiring to fraudulently obstruct the federal

function for collecting, counting, and certifying the results of the Presidential election, in

violation of 18 U.S.C. § 371 (Count I); corruptly obstructing and conspiring to obstruct

Congress’s certification of the election results, in violation of 18 U.S.C. §§ 1512(c)(2) and (k)

(Counts II and III); and conspiring to deprive citizens of their constitutional right to have their

votes counted, in violation of 18 U.S.C § 241 (Count IV). See Indictment ¶¶ 5–130.

       That Defendant’s alleged criminal conduct involved speech does not render the

Indictment unconstitutional. The Indictment notes that “Defendant had a right, like every

American, to speak publicly about the election and even to claim, falsely, that there had been

outcome-determinative fraud during the election and that he had won.” Id. ¶ 3. And it

enumerates Defendant’s specific statements only to support the allegations that Defendant joined

conspiracies and attempted to obstruct the election certification, such as the allegations that

Defendant knowingly made false claims about the election results, id. ¶¶ 11–12, and deceived
                                            Page 32 of 48


                                                                                                         62
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 63 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 63 of 78



state officials to subvert the election results, id. ¶ 13–52. See, e.g., id. ¶¶ 12, 19, 22, 31–35, 37,

41, 46, 50, 52 (referencing Defendant’s statements). The Indictment therefore properly alleges

Defendant’s statements were made in furtherance of a criminal scheme.

        Defendant argues that the Indictment violates the First Amendment for three primary

reasons: (1) the government may not prohibit Defendant’s core political speech on matters of

public concern, Constitutional Motion at 4–11; (2) “First Amendment protection . . . extends to

statements advocating the government to act,” id. at 12–14 (formatting modified); and

(3) Defendant reasonably believed that the 2020 Presidential Election was stolen, id. at 15–17.

    1. Core political speech on matters of public concern
        Defendant first claims that his statements disputing the outcome of the 2020 election is

“core political speech” that addresses a “matter[] of public concern.” Id. at 8–10. Even

assuming that is true, “core political speech” addressing “matters of public concern” is not

“immunized from prosecution” if it is used to further criminal activity. United States v. Rahman,

189 F.3d 88, 117 (2d Cir. 1999); see Stevens, 559 U.S. at 468–69. That is the case even though

Defendant was the President at the time. See Blassingame v. Trump, Nos. 22-5069, 22-7030, 22-

7031, slip op. at 50 (D.C. Cir. Dec. 1, 2023) (Defendant is not entitled to immunity when he

“engages in speech” that “removes him[] from the First Amendment’s protections.”). As the

D.C. Circuit has recognized, “an immunity for all presidential speech on matters of public

concern …. is ‘unsupported by precedent.’” Id. at 27 (quoting Clinton, 520 U.S. at 695).

        In support of his argument, Defendant first invokes various Justices’ opinions in United

States v. Alvarez, 567 U.S. 709 (2012). Constitutional Motion at 4–7. There was no majority

opinion in Alvarez; a majority of the Justices agreed only that the Stolen Valor Act, which

prohibits an individual from falsely representing that they have received “any decoration or

medal authorized by Congress for the Armed Forces of the United States,” violated the First

                                            Page 33 of 48


                                                                                                         63
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 64 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 64 of 78



Amendment. 567 U.S. at 716, 729–30 (plurality opinion) (Kennedy, J., joined by Roberts. C.J.,

Ginsburg, J., and Sotomayor, J.); id. at 730 (Breyer, J. concurring in the judgment, joined by

Kagan, J.). One theme common to both the plurality and concurring opinions, however, was the

concern that the Stolen Valor Act prohibited only false statements and only because of their

falsity. See id. at 717–22 (plurality opinion); id. at 732 (Breyer, J. concurring). Indeed, each

opinion reiterated that laws “implicat[ing] fraud or speech integral to criminal conduct” are

constitutional. Id. at 721 (plurality opinion); accord id. at 734–36 (Breyer, J., concurring in the

judgment); id. at 747 (Alito, J., dissenting). Because it confirmed that speech involved in the

commission of a crime was not protected by the First Amendment, Alvarez did not undermine

settled precedent allowing the prosecution of speech in furtherance of criminal activity.

       Second, Defendant contends that “attempts to prohibit or criminalize claims on political

disputes” constitute viewpoint discrimination. Constitutional Motion at 9–10. But Defendant is

not being prosecuted for his “view” on a political dispute; he is being prosecuted for acts

constituting criminal conspiracy and obstruction of the electoral process. Supra Section I. And

any political motives Defendant may have had in doing so do not insulate his conduct from

prosecution. E.g., Rahman, 189 F.3d at 116–17 (mixed motives do not insulate speech from

prosecution); see Gov.’s Omnibus Opp’n to Def.’s Motions to Dismiss the Indictment on

Statutory and Constitutional Grounds, ECF No. 139 at 33 (Opp’n to Constitutional Motion)

(collecting other Circuit cases). The Indictment does not unconstitutionally discriminate against

Defendant based on viewpoint.

       Third, Defendant argues that even if a higher level of scrutiny does not apply to the

Indictment, it nonetheless is invalid “under any level of scrutiny” because it is “tailored to violate

free-speech rights.” Constitutional Motion at 11. Here, however, there is no level of scrutiny



                                           Page 34 of 48


                                                                                                         64
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 65 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 65 of 78



that applies, because speech in furtherance of criminal conduct does not receive any First

Amendment protection. E.g., Stevens, 559 U.S. at 468–69. Moreover, Defendant cites no

support for his argument that the Indictment is “tailored to violate free-speech rights,” nor does

he explain how the Indictment is so tailored. See Constitutional Motion at 11 (emphasis added).

        Finally, Defendant argues that the Indictment violates the First Amendment because “all

the charged conduct constitutes First Amendment protected speech.” Def.’s Reply in Support of

Motion to Dismiss Based on Constitutional Grounds, ECF No. 162 at 7–8 (“Constitutional

Reply”) (emphasis in original). He contends that to qualify as speech in furtherance of criminal

conduct, “the speech in question must ‘be integral to’ some criminal ‘conduct’ that is not itself a

form of First Amendment-protected speech or expression.” Id. (emphasis added). But again, the

Indictment does not need to list other kinds of criminal conduct in addition to speech to comply

with the First Amendment; the crimes Defendant is charged with violating may be carried out

through speech alone. See Nat’l Org. for Women, 37 F.3d at 656; supra Section IV.A.

    2. Statements advocating government action
        Defendant next claims the First Amendment protects “statements advocating the

government to act.” Constitutional Motion at 12–14 (formatting modified). He first contends

the Petition Clause of the First Amendment provides an absolute right to make statements

encouraging the government to act in a public forum, citing McDonald v. Smith, 472 U.S. 479

(1985). Constitutional Motion at 12–13. The Petition Clause provides that “Congress shall

make no law . . . abridging . . . the right of the people . . . to petition the Government for a

redress of grievances.” U.S. Const. amend. I. The Clause protects individuals’ ability to

“‘communicate their will’ through direct petitions to the legislature and government officials.”

McDonald, 472 U.S. at 482 (quoting 1 Annals of Congress 738 (1789) (James Madison)). In

McDonald, however, the Supreme Court concluded that the Petition Clause did not immunize a

                                            Page 35 of 48


                                                                                                      65
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 66 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 66 of 78



person from a libel suit based on letters the individual had sent to the President. Id. at 480–81;

see also Opp’n to Constitutional Motion at 34. The Court explained that the Petition Clause does

not have “special First Amendment status,” so “there is no sound basis for granting greater

constitutional protection” under the Petition Clause “than other First Amendment expressions.”

McDonald, 472 U.S. at 484–85. Defendant’s reliance on the Clause and its interpretation in

McDonald is therefore unavailing, as the Petition Clause does not prohibit prosecuting

Defendant’s speech any more than the Speech Clause does. The Petition Clause does not

insulate speech from prosecution merely because that speech also petitions the government.

       Defendant also invokes McDonnell v. United States, 579 U.S. 550 (2016), to argue that

allowing this prosecution would risk criminalizing statements once thought to be false that

turned out to be true, such as statements made early in the COVID-19 pandemic that masks do

not stop the transmission of the virus. Constitutional Motion at 13–14. Not so. First,

McDonnell did not involve the First Amendment but rather the proper interpretation of “official

act” under the federal bribery statute, 18 U.S.C. § 201(b)(2). McDonell, 579 U.S. at 566; see

Opp’n to Constitutional Motion at 34 n.14. And neither the Indictment nor the federal statutes

under which Defendant is charged involve an “official act.” Second, Defendant is not being

prosecuted simply for making false statements, see supra at 33–34, but rather for knowingly

making false statements in furtherance of a criminal conspiracy and obstructing the electoral

process. Consequently, there is no danger of a slippery slope in which inadvertent false

statements alone are alleged to be the basis for criminal prosecution.

       In his Reply brief, Defendant also raises overbreadth, arguing that under the

Government’s interpretation, the underlying statutes charged in the Indictment are

unconstitutional because they “criminalize a wide range of perfectly ordinary acts of public



                                           Page 36 of 48


                                                                                                     66
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 67 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 67 of 78



speech and petitioning the government.” Constitutional Reply at 9–10. Assuming Defendant’s

overbreadth challenge was properly raised for the first time in his Reply brief, the statutes are not

overbroad under the Government’s view. As an initial matter, Defendant’s actions are not

entitled to First Amendment protection as “perfectly ordinary acts of public speech and

petitioning the government.” Supra Section IV.B.1–2; infra Section IV.B.3. Moreover,

Defendant fails to identify any protected acts or speech that the statutes might render

impermissible under the Government’s interpretation. See, e.g., United States v. Hansen, 599

U.S. 762, 769–70 (2023) (A litigant must “demonstrate[] that the statute ‘prohibits a substantial

amount of protected speech’ relative to its ‘plainly legitimate sweep’” to succeed in overbreadth

challenge (citation omitted)).

   3. Defendant’s statements on the 2020 Presidential Election
       Finally, Defendant claims the First Amendment does not permit the government to

prosecute him for his reasonable belief that the 2020 Presidential Election was stolen.

Constitutional Motion at 15–17. He argues that the truth or falsity of his belief is not “easily

verifiable” and there is “abundant public evidence providing a reasonable basis” for his view. Id.

at 15–16. He contends that he is “entitled to mistrust the word of . . . establishment-based

government officials and draw [his] own inferences from the facts.” Id. at 17. At this stage,

however, the court must take the allegations in the Indictment as true, supra Section II, and the

Indictment alleges that Defendant made statements that he knew were false, e.g., Indictment

¶¶ 11–12; see also Opp’n to Constitutional Motion at 26–27. While Defendant challenges that

allegation in his Motion, and may do so at trial, his claim that his belief was reasonable does not

implicate the First Amendment. If the Government cannot prove beyond a reasonable doubt at

trial that Defendant knowingly made false statements, he will not be convicted; that would not

mean the Indictment violated the First Amendment.

                                           Page 37 of 48


                                                                                                        67
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 68 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 68 of 78



                                  V.       DOUBLE JEOPARDY

        Defendant’s Constitutional Motion next posits that the prosecution violates double

jeopardy because Defendant was tried—and acquitted—in earlier impeachment proceedings

arising out of the same course of conduct. Constitutional Motion at 18–24. But neither

traditional double jeopardy principles nor the Impeachment Judgment Clause provide that a

prosecution following impeachment acquittal violates double jeopardy.

A. Double Jeopardy Clause

        The Fifth Amendment provides that “[n]o person shall . . . be subject for the same offense

to be twice put in jeopardy of life or limb.” U.S. Const. amend. V. To “be twice put in jeopardy

of life or limb” means to face the possibility of “multiple criminal punishments for the same

offense.” Hudson v. United States, 522 U.S. 93, 99 (citation omitted) (emphasis in original). A

purportedly civil penalty only counts in the double jeopardy context if “the statutory scheme was

so punitive in either purpose or effect . . . as to ‘transform’” it into a criminal penalty. Id.

(citation omitted).

        As long as separate prosecutions charge an individual with violating different laws, the

prosecutions are considered separate “offenses” under the Double Jeopardy Clause and the

second prosecution passes constitutional muster. Denezpi v. United States, 596 U.S. 591, 597–

98 (2022). When the same “act or transaction” violates two distinct provisions of the same

statute, there are distinct offenses only if “each provision requires proof of a fact which the other

does not.” Blockburger v. United States, 284 U.S. 299, 304 (1932). In contexts involving

different sovereigns—such as the federal government and a state government—a person may be

tried for violating laws that “have identical elements and could not be separately prosecuted if

enacted by a single sovereign.” Denezpi, 596 U.S. at 597–98.



                                            Page 38 of 48


                                                                                                        68
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 69 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 69 of 78



        The Indictment here does not violate double jeopardy principles. First, impeachment

threatens only “removal from Office, and disqualification to hold and enjoy any Office of honor,

Trust or Profit under the United States,” U.S. Const. art. I, § 3, cl. 7, neither of which is a

criminal penalty. See supra at 9. Nor does Defendant argue that they are civil penalties that

should be construed as criminal penalties. See Constitutional Motion at 23–24. Second, the

impeachment proceedings charged Defendant with “Incitement of Insurrection,” which is not

charged in the Indictment. See Opp’n to Constitutional Motion at 60–62 (citing H.R. Res. 24,

117th Cong. (Jan. 11, 2021)). Although there are few decisions interpreting the analogous

federal statute that prohibits inciting “any . . . insurrection against the authority of the United

States or the laws thereof,” 18 U.S.C. § 2383, it is well-established that “incitement” typically

means “advocacy . . . directed to inciting or producing imminent lawless action” that is “likely to

incite or produce such action,” Brandenburg v. Ohio, 395 U.S. 444, 447 (1969). None of the

statutes under which Defendant is charged require the Government to prove incitement. See 18

U.S.C. § 371; id. §§ 1512(c)(2), (k); id. § 241; accord Indictment ¶¶ 6, 126, 128, 130. The

impeachment proceedings and this prosecution therefore did not “twice put” Defendant “in

jeopardy of life or limb” for the “same offense.”

        Defendant also contends his prosecution violates double jeopardy principles because the

distinct branches of government are part of one single sovereign. Constitutional Motion at 24.

But even assuming that is true, Defendant does not argue that impeachment carries a criminal

sanction or that the impeachment proceedings were based on the same offense as charged in the

Indictment. See id. at 23–24. Instead, he argues that different double jeopardy principles would

apply to prosecutions following impeachments, referencing only the Impeachment Judgment

Clause for support. Constitutional Reply at 18–20. But, as discussed below, the Impeachment



                                            Page 39 of 48


                                                                                                      69
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 70 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 70 of 78



Judgment Clause provides only that prosecutions following convictions at impeachment are

constitutionally permissible; it does not create special double jeopardy principles. See U.S.

Const. art. I, § 3, cl. 7; infra Section V.B. Consequently, the Indictment does not violate the

Double Jeopardy Clause.

B. Impeachment Judgment Clause

       The Impeachment Judgment Clause provides that “Judgment in Cases of Impeachment

shall not extend further than to removal from Office, and disqualification to hold and enjoy any

Office of honor, Trust or Profit under the United States: but the Party convicted shall

nevertheless be liable and subject to Indictment, Trial, Judgment and Punishment, according to

Law.” U.S. Const. art. I, § 3, cl. 7. As explained above, the first part of the Clause limits the

remedies available in impeachment, and the second part provides that even if a person is

convicted in impeachment proceedings, they may still be subject to criminal prosecution. See

supra at 8–10. As the Office of Legal Counsel noted, the “second part makes clear that the

restriction on sanctions in the first part was not a prohibition on further punishments; rather,

those punishments would still be available but simply not to the legislature.” OLC Double

Jeopardy Memo at *10.

       Defendant contends the Impeachment Judgment Clause contains a negative implication:

if a person is not convicted in impeachment proceedings, they may not be prosecuted.

Constitutional Motion at 18–23; Constitutional Reply at 10–11. In statutory interpretation, the

expressio unius canon, which provides that “expressing one item of an associated group or series

excludes another left unmentioned,” does not apply unless “circumstances support a sensible

inference that the term left out must have been meant to be excluded.” NLRB v. SW General,

Inc., 580 U.S. 288, 302 (2017) (citations omitted). Because Defendant’s reading is not supported

by the structure of the Constitution, the historical context of the impeachment clauses, or prior
                                           Page 40 of 48


                                                                                                    70
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 71 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 71 of 78



constitutional precedents, expressio unius does not apply. Accord Thompson v. Trump, 590

F. Supp. 3d 46, 86–87 (D.D.C. 2022). The Impeachment Judgment Clause does not provide that

acquittal by the Senate during impeachment proceedings shields a President from criminal

prosecution after he leaves office.

   1. Structure
       Structural considerations support reading the Impeachment Judgment Clause as the plain

language suggests. First, as the Government notes, impeachment and prosecution serve distinct

goals within the separation of powers. See Opp’n to Constitutional Motion at 52–53.

Impeachment “is designed to enable Congress to protect the nation against officers who have

demonstrated that they are unfit to carry out important public responsibilities,” whereas

prosecution is designed to “penalize individuals for their criminal misdeeds.” OLC Double

Jeopardy Memo at *13. Impeachment proceedings provide far fewer procedural safeguards than

do prosecutions, see id., and accordingly, Congress may not dispense criminal penalties in

impeachment proceedings, supra Section V.A. Impeachment is not a substitute for prosecution.

       Second, the Senate may acquit in impeachment proceedings even when it finds that an

official committed the acts alleged. For example, the Senate may acquit because it believes the

acts committed do not amount to “high Crimes and Misdemeanors,” U.S. Const. art. II, § 4;

because the Senate believes it lacks authority to try the official; or for partisan reasons. OLC

Double Jeopardy Memo at *14–15. Indeed, the Framers anticipated that impeachments might

spark partisan division. See The Federalist No. 65, at 330–31 (Alexander Hamilton); Letter from

Edmund Pendleton to James Madison, Oct. 8, 1787, 10 The Documentary History of the

Ratification of the Constitution 1773 (1976); 10 The Papers of James Madison 223 (Rutland et

al. ed., 1977); accord OLC Double Jeopardy Memo at *15. Acquittal on impeachment does not

establish the defendant’s innocence.

                                           Page 41 of 48


                                                                                                   71
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 72 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 72 of 78



        Defendant contends that impeachment serves to protect officials from political attacks by

their enemies, and allowing prosecution following impeachment acquittal would undermine that

protection. Constitutional Reply at 15–18. But politics are likely to play even larger a role in

impeachments than in prosecutions, given that impeachments are conducted by elected officials

politically accountable to their constituents, whereas prosecutions are conducted by appointed

officials, most of whom may not be removed without cause, see Free Enter. Fund v. Public Co.

Accounting Oversight Bd., 561 U.S. 477, 492–93 (2010) (explaining for-cause removal). And

former officials like Defendant, rather than current officials, are also less likely to be politically

attacked, because they no longer hold the power and authority of political office.

    2. Historical context
        Defendant claims that his interpretation of the Impeachment Judgment Clause reflects the

original public meaning of the impeachment clauses. Constitutional Motion at 20–21;

Constitutional Reply at 12–15. Considerable historical research undermines that contention. See

OLC Double Jeopardy Memo at *7–12 (“We are unaware of any evidence suggesting that the

framers and ratifiers of the Constitution chose the phrase ‘the party convicted’ with a negative

implication in mind.”); accord Thompson, 590 F. Supp. 3d at 87. Most notably, the Founders

repeatedly acknowledged that impeachment acquittals would not bar subsequent prosecutions.

For example, James Wilson, who participated in the Constitutional Convention, observed that

officials who “may not be convicted on impeachment . . . may be tried by their country.” 2 The

Documentary History of the Ratification of the Constitution 492. Edward Pendleton, who was

President of the Virginia Ratifying Convention, similarly observed that “an Acquital would not

bar,” a “resort to the Courts of Justice,” Letter from Edmund Pendleton to James Madison, Oct.

8, 1787, 10 The Documentary History of the Ratification of the Constitution 1773, a conclusion

that James Madison called “extremely well founded,” 10 The Papers of James Madison 223.

                                            Page 42 of 48


                                                                                                         72
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 73 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 73 of 78



Justice Story too described that, following impeachment, “a second trial for the same offence

could be had, either after an acquittal, or a conviction in the court of impeachments.” 2 Story’s

Commentaries § 780.

       Founding-era officials similarly acknowledged that an acquittal at impeachment

proceedings would not bar a subsequent prosecution. For example, during the first federal

impeachment trial, Representative Samuel Dana contrasted impeachment proceedings with

criminal trials, stating that impeachment had “no conne[ct]ion with punishment or crime, as,

whether a person tried under an impeachment be found guilty or acquitted, he is still liable to a

prosecution at common law.” 9 Annals of Congress 2475 (1798). None of the sources

Defendant cites refute that conclusion. See Constitutional Motion at 20–21.

   3. Prior precedent
       Defendant’s additional arguments invoking past constitutional precedents are similarly

unavailing. He first cites Justice Alito’s dissent in Vance. Constitutional Motion at 19–20. In

Vance, the Supreme Court held that a sitting President is not immune from state criminal

subpoenas, nor does a heightened standard apply to such requests. 140 S. Ct. at 2431. In so

holding, the majority opinion reiterated that “no citizen, not even the President, is categorically

above the common duty to produce evidence when called upon in a criminal proceeding.” Id.

Justice Alito’s dissent, moreover, noted that under the Impeachment Judgement Clause,

“criminal prosecution, like removal from the Presidency and disqualification from other offices,

is a consequence that can come about only after the Senate’s judgment, not during or prior to the

Senate trial.” Id. at 2444 (Alito, J., dissenting); see Constitutional Motion at 19. All Justice

Alito’s dissent observed is that, temporally, any prosecution must follow the judgment on

impeachment; no official shall be subject to simultaneous impeachment proceedings and



                                           Page 43 of 48


                                                                                                      73
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 74 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 74 of 78



criminal prosecution. The dissent does not support the view that if impeachment proceedings

end in acquittal, subsequent prosecution violates double jeopardy.

       Defendant also cites Fitzgerald for the proposition that the threat of impeachment alone

is the proper remedy against a President for any “official misfeasance.” Constitutional Motion

at 22. But as already explained, Fitzgerald is meaningfully distinguishable; it addressed

immunity from civil suit, and all nine Justices took care to emphasize that their reasoning did not

extend to the criminal context. See supra Section III.B.1.

       In sum, neither the Double Jeopardy Clause nor the Impeachment Judgment Clause

prevent Defendant, who while President was acquitted in impeachment proceedings for

incitement, from being prosecuted after leaving office for different offenses.

                                     VI.     DUE PROCESS

       Finally, Defendant contends that the Indictment violates the Due Process Clause because

he lacked fair notice that his conduct was unlawful. Constitutional Motion at 25–31.

A. Due process principles

       The Due Process Clause of the Fifth Amendment provides that “[n]o person shall . . . be

deprived of life, liberty, or property, without due process of law.” U.S. Const. amend. V. To

comply with due process, a law must give “fair warning” of the prohibited conduct. United

States v. Lanier, 520 U.S. 259, 265 (1997) (citation omitted). A law fails to give fair warning if

the text of a statute is so unclear that it requires the Judicial and Executive Branches to “define

what conduct is sanctionable and what is not,” Sessions v. Dimaya, 138 S. Ct. 1204, 1212 (2018);

see Lanier, 520 U.S. at 266 (citation omitted), or a judge construes the statute in a manner that is

“clearly at variance with the statutory language,” Bouie v. City of Columbia, 378 U.S. 347, 356

(1964); see Rogers v. Tennessee, 532 U.S. 451, 457 (2001); see also Lanier, 520 U.S. at 266.



                                           Page 44 of 48


                                                                                                       74
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 75 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 75 of 78



       For instance, in 2015, the Supreme Court concluded that the residual clause of the Armed

Career Criminal Act violated due process because it was so vague—and difficult to administer—

that defendants lacked notice of how it would be applied in any given case. Johnson v. United

States, 576 U.S. 591, 597 (2015). The Court explained that the residual clause required judges to

imagine an “ordinary case” involving the crime with which the defendant was charged, and

compare the defendant’s actions to that “ordinary case.” Id. at 597, 599. It further emphasized

that its “repeated attempts and repeated failures to craft a principled and objective standard out of

the residual clause confirm[ed] its hopeless indeterminacy,” id. at 598, noting that the clause had

caused “numerous splits among the lower federal courts,” id. at 601 (citation omitted).

       A statute does not fail to give fair warning just “because it ‘does not mean the same thing

to all people, all the time, everywhere.’” United States v. Bronstein, 849 F.3d 1101, 1107 (D.C.

Cir. 2017) (citation omitted). “Since words, by their nature, are imprecise instruments,” laws

“may have gray areas at the margins” without violating due process. United States v. Barnes,

295 F.3d 1354, 1366 (D.C. Cir. 2002). Indeed, statutes are rarely found unconstitutional because

their text fails to give fair warning. See, e.g., Bronstein, 849 F.3d at 1107 (statute upheld);

Barnes, 259 F.3d at 1366 (same); Woodhull Freedom Found. v. United States, 72 F.4th 1286,

1303–05 (D.C. Cir. 2023) (same); Kincaid v. Gov’t of D.C., 854 F.3d 721, 728–30 (D.C. Cir.

2017) (same); Agnew v. Gov’t of D.C., 920 F.3d 49, 55–61 (D.C. Cir. 2019) (same).

       Applying a novel judicial construction of a statute may also fail to give fair warning if it

“unexpectedly broadens” the statute’s reach and applies that expanded reach “retroactively.”

Bouie, 378 U.S. at 353–57; see Rogers, 532 U.S. at 457; Reed v. Goertz, 143 S. Ct. 955, 960–61

(2023). In Bouie, for example, defendants were convicted of violating a state law prohibiting

“entry upon the lands of another . . . after notice from the other . . . prohibiting such entry” after



                                            Page 45 of 48


                                                                                                         75
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 76 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 76 of 78



they remained on premises after being asked to leave, even though they did not re-enter the

premises. 378 U.S. at 355. The Supreme Court held that the state supreme court’s construction

of the statute failed to give the defendants fair notice because it was “clearly at variance with the

statutory language” and had “not the slightest support in prior [state] decisions.” Id. at 356.

B. The Indictment does not violate due process

       Defendant had fair notice that his conduct might be unlawful. None of the criminal laws

he is accused of violating—18 U.S.C. § 371; id. § 1512(k); id. § 1512(c)(2); and id. § 241—

require the Executive or Judicial Branch to “guess” at the prohibited conduct, Lanier, 520 U.S. at

266. Nor does finding that the Indictment complies with due process require the court to create a

novel judicial construction of any statute.

       Defendant notes that the “principle of fair notice has special force” in the First

Amendment Context. Constitutional Motion at 26–27. While that may be true, even “special

force” does not place Defendant’s alleged conduct “outside the plain language of the charged

statutes” as he alleges. See id. at 27. First, his argument does not contrast the allegations in the

Indictment with the plain language of the statutes, but instead attempts to recast the factual

allegations in the Indictment itself as no more than routine efforts to challenge an election. See

id. at 31 (claiming that “post-election challenges” like Defendant’s “had been performed in 1800,

1824, 1876, and 1960 . . . without any suggestion [it was] criminal”). But again, at this stage, the

court must take the allegations in the Indictment as true. Supra Section II, IV.B.3. The fact that

Defendant disputes the allegations in the Indictment do not render them unconstitutional.

Second, the meaning of statutory terms “need not be immediately obvious to an average person;

indeed, ‘even trained lawyers may find it necessary to consult legal dictionaries, treatises, and

judicial opinions before they may say with any certainty what some statutes may compel or

forbid.’” Agnew, 920 F.3d at 57 (citation omitted). And due process does not entitle Defendant
                                              Page 46 of 48


                                                                                                        76
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 77 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 77 of 78



to advance warning that his precise conduct is unlawful, so long as the law plainly forbids it. See

Lanier, 520 U.S. at 271; cf. United States v. Int’l Mins. & Chem. Corp., 402 U.S. 558, 563

(1971) (“ignorance of the law is no defense”).

       Defendant also claims he lacked fair notice because there is a “long history” of

government officials “publicly claiming that election results were tainted by fraud” or

questioning election results, yet he is “the first person to face criminal charges for such core

political behavior.” Constitutional Motion at 25; see id. at 27–30. But there is also a long

history of prosecutions for interfering with the outcome of elections; that history provided

Defendant with notice that his conduct could be prosecuted. See Opp’n to Constitutional Motion

at 39–40 (citing six examples of 18 U.S.C. § 241 prosecutions). Indeed, the Supreme Court has

addressed more than one case in which officials were prosecuted for interfering with or

discarding election ballots. United States v. Mosley, 238 U.S. 383, 385 (1915); United States v.

Saylor, 322 U.S. 385, 386 (1944).

       In addition, none of the contested elections Defendant invokes is analogous to this case.

See Opp’n to Constitutional Motion at 40–47 (detailing the history of each election). As noted

above, Defendant is not being prosecuted for publicly contesting the results of the election; he is

being prosecuted for knowingly making false statements in furtherance of a criminal conspiracy

and for obstruction of election certification proceedings. And in none of these earlier

circumstances was there any allegation that any official engaged in criminal conduct to obstruct

the electoral process. For instance, following the 2004 Presidential election, Representative

Stephanie Tubbs Jones raised an objection to Ohio’s electoral votes at the joint session; Senator

Boxer signed the objection. 151 Cong. Rec. 199 (Jan. 6, 2005). As Representative Jones

explained in a separate session, that objection was to allow “a necessary, timely, and appropriate



                                           Page 47 of 48


                                                                                                      77
      Case 1:23-cr-00257-TSC Document 179 Filed 12/07/23 Page 78 of 78
USCA Case #23-3228     Document #2030604     Filed: 12/08/2023  Page 78 of 78



opportunity to review and remedy . . . the right to vote.” Id. Ohio’s electoral votes were then

counted for President Bush. Defendant points to no allegation that Representative Jones’

objection was in furtherance of a criminal conspiracy or designed to obstruct the electoral

process.

       Moreover, even if there were an analogous circumstance in which an official had escaped

prosecution, the mere absence of prior prosecution in a similar circumstance would not

necessarily mean that Defendant’s conduct was lawful or that his prosecution lacks due process.

The “exclusive authority and absolute discretion to decide whether to prosecute a case”—within

bounds, supra at 19–20—is a cornerstone of the Executive Branch. Nixon, 418 U.S. at 693

(citation omitted).

       Finally, Defendant argues that, for the Indictment to comply with due process, the

prosecution bears the burden to “provide examples where similar conduct was found criminal.”

Constitutional Reply at 21. Under that theory, novel criminal acts would never be prosecuted.

The Constitution does not so constrain the Executive Branch.

                                     VII.     CONCLUSION

       For the foregoing reasons, the court will DENY Defendant’s Motion to Dismiss

Indictment Based on Presidential Immunity, ECF No. 74, and Motion to Dismiss the Indictment

Based on Constitutional Grounds, ECF No. 113. A corresponding Order will accompany this

Memorandum Opinion.



Date: December 1, 2023

                                                  Tanya S. Chutkan
                                                  TANYA S. CHUTKAN
                                                  United States District Judge


                                            Page 48 of 48


                                                                                                  78
